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 THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.
 ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A
 DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
 COURT. THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR
 APPROVAL BUT HAS NOT BEEN APPROVED BY THE COURT.


UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK

In re:

M. BURTON MARSHALL,                               Case No. 23-60263-PGR
a/k/a BURT MARSHALL,                              Chapter 11 (Main case)
a/k/a MILES BURTON MARSHALL, et al.,              Case No. 23-60723-PGR
                                                  (Jointly Administered)

                                   Debtors.

          DISCLOSURE STATEMENT FOR JOINT PLAN OF LIQUIDATION
            PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE



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 Trustee of the Estate of M. Burton
 Marshall a/k/a Burt Marshall a/k/a Miles
 Burton Marshall

 and

 Counsel to Miles B. Marshall, Inc., Debtor
 and Debtor-in-Possession

Dated: New York, New York
       February 20, 2024
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PLEASE READ THIS DISCLOSURE STATEMENT CAREFULLY. THIS DISCLOSURE
STATEMENT CONTAINS INFORMATION THAT MAY BEAR UPON YOUR DECISION
TO ACCEPT OR REJECT THE PLAN WHICH IS ENCLOSED WITH THIS DISCLOSURE
STATEMENT. THE PLAN PROPONENTS BELIEVE THAT THE PLAN IS IN THE BEST
INTERESTS OF THE DEBTORS AND THEIR CREDITORS AND PROVIDES THE
HIGHEST AND MOST EXPEDITIOUS RECOVERIES TO HOLDERS OF ALLOWED
CLAIMS AGAINST THE DEBTORS.

       Fred Stevens, Chapter 11 trustee (the “Trustee”) of the estate of M. Burton Marshall a/k/a
Burt Marshall a/k/a Miles Burton Marshall (“Marshall”), and debtor Miles B. Marshall, Inc.
(“Marshall Inc.,” Marshall and Marshall Inc. each a “Debtor” and collectively, the “Debtors”)
submit this disclosure statement (the “Disclosure Statement”) pursuant to section 1125 of the
Bankruptcy Code to accompany the Joint Plan of Liquidation Pursuant to Chapter 11 of the
Bankruptcy Code dated February 20, 2024 (the “Plan”), which has been filed with the United States
Bankruptcy Court for the Northern District of New York (the “Bankruptcy Court”).

I.         PURPOSE AND LIMITATIONS OF DISCLOSURE STATEMENT

           A.       Purpose of Disclosure Statement

       The purpose of the Disclosure Statement is to set forth information that (i) summarizes the
Plan and alternatives to the Plan, (ii) advises holders of Claims 1 and Interests of their rights under
the Plan, (iii) assists creditors entitled to vote in making informed decisions as to whether they
should vote to accept or reject the Plan, and (iv) assists the Bankruptcy Court in determining
whether the Plan complies with the provisions of chapter 11 of the Bankruptcy Code and should
be confirmed.

        You are urged to read the Disclosure Statement in order to determine what rights you may
have to vote on or object to the Plan and before making any decision on any such course of action.
Particular attention should be directed to the provisions of the Plan affecting or impairing your rights
as they existed before the institution of these Chapter 11 Cases. Please note, however, that this
Disclosure Statement cannot tell you everything about your rights. For instance, this Disclosure
Statement cannot and does not provide a complete description of the financial status of the Debtors,
all of the applicable provisions of the Bankruptcy Code, or other matters that may be deemed
significant by creditors and other parties in interest. You are also encouraged to consult with your
lawyers and/or advisors as you review and consider the Disclosure Statement and the Plan to enable
you to obtain more specific advice on how the Plan will affect you.

           B.       Definitions and Exhibits

       Definitions Unless otherwise defined herein, capitalized terms used in this Disclosure
Statement will have the meanings ascribed to such terms in the Plan.




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    Capitalized terms not defined herein shall have the meaning ascribed to them in the Plan.

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     Exhibits The following exhibits are annexed hereto and expressly incorporated herein:

                    Exhibit                          Description
                      A             Liquidation Analysis
                      B             Proposed Treatment of Class 4 General
                                    Unsecured Claims

     C.      Enclosures

     The following materials are included with this Disclosure Statement:

     1.   A copy of the Plan;

     2. A copy of an order approving the Disclosure Statement (the “Disclosure Statement
        Approval Order”), which states: (a) the date by which objections to confirmation of the
        Plan must be served and filed, (b) the date by which all votes with respect to the Plan must
        be cast, (c) the date of the hearing in the Bankruptcy Court to consider confirmation of the
        Plan, and (d) other relevant information;

     3. Notice of Confirmation Hearing. A copy of the notice of the deadline for submitting
        ballots to accept or reject the Plan and, among other things, the date, time and place of the
        Confirmation Hearing and the deadline for filing objections to confirmation of the Plan
        (the “Confirmation Hearing Notice”);

     4. A ballot (and return envelope) for voting to accept or reject the Plan;

     5. An assignment of Bank Litigation Claims (and return envelope) for holders of Class 4
        Claims who want to assign their Bank Litigation Claims, if any, and participate in any
        recovery of Bank Litigation Claims by the Plan Administrator;

     6. A W-9 form to complete and return; and

     7. A letter from counsel to the Official Committee encouraging acceptance of the Plan.

     D.      Representations and Limitations

     NO PERSON IS AUTHORIZED IN CONNECTION WITH THE PLAN OR THE
SOLICITATION OF VOTES THEREON TO GIVE ANY INFORMATION OR TO MAKE
ANY REPRESENTATION OTHER THAN AS CONTAINED IN THIS DISCLOSURE
STATEMENT AND THE EXHIBITS ANNEXED HERETO OR INCORPORATED
HEREIN BY REFERENCE OR REFERRED TO HEREIN, AND IF GIVEN OR MADE,
SUCH INFORMATION OR REPRESENTATION MAY NOT BE RELIED UPON AS
HAVING BEEN AUTHORIZED BY THE PLAN PROPONENTS.

    NO REPRESENTATIONS CONCERNING THE DEBTORS OR THE PLAN ARE
AUTHORIZED OTHER THAN AS SET FORTH HEREIN. ANY REPRESENTATIONS OR

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INDUCEMENTS TO SECURE YOUR ACCEPTANCE OF THE PLAN OTHER THAN AS
CONTAINED HEREIN SHOULD NOT BE RELIED UPON BY YOU.

     THE INFORMATION CONTAINED HEREIN HAS BEEN PREPARED BY THE
PLAN PROPONENTS IN GOOD FAITH, BASED UPON UNAUDITED INFORMATION
AVAILABLE TO THEM AS OF THE DATE HEREOF. ALTHOUGH THE PLAN
PROPONENTS HAVE USED BEST EFFORTS TO ENSURE THAT SUCH
INFORMATION IS ACCURATE, THE INFORMATION CONTAINED HEREIN IS
UNAUDITED. THE PLAN PROPONENTS BELIEVE THAT THIS DISCLOSURE
STATEMENT COMPLIES WITH THE REQUIREMENTS OF THE BANKRUPTCY
CODE.

     THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE
MADE AS OF THE DATE HEREOF, UNLESS ANOTHER TIME IS SPECIFIED HEREIN,
AND DELIVERY OF THIS DISCLOSURE STATEMENT SHALL NOT CREATE ANY
IMPLICATION THAT THERE HAS BEEN NO CHANGE IN THE FACTS SET FORTH
HEREIN SINCE THE DATE OF THIS DISCLOSURE STATEMENT AND/OR THE DATE
THAT THE MATERIALS RELIED UPON IN PREPARATION OF THIS DISCLOSURE
STATEMENT WERE COMPILED.

     THE DISCLOSURE STATEMENT MAY NOT BE RELIED ON FOR ANY
PURPOSE OTHER THAN TO DETERMINE HOW TO VOTE ON THE PLAN, AND
NOTHING CONTAINED HEREIN SHALL CONSTITUTE AN ADMISSION OF ANY
FACT OR LIABILITY BY ANY PARTY, OR BE ADMISSIBLE IN ANY PROCEEDING
INVOLVING THE DEBTORS OR ANY OTHER PARTY, OR BE DEEMED CONCLUSIVE
ADVICE ON THE TAX OR OTHER LEGAL EFFECTS OF THE PLAN ON HOLDERS OF
CLAIMS AGAINST THE DEBTORS.

     THE DESCRIPTION OF THE PLAN CONTAINED IN THIS DISCLOSURE
STATEMENT IS INTENDED AS A SUMMARY ONLY AND IS QUALIFIED IN ITS
ENTIRETY BY REFERENCE TO THE PLAN ITSELF. EACH CREDITOR IS
ENCOURAGED TO READ, CONSIDER, AND CAREFULLY ANALYZE THE TERMS
AND PROVISIONS OF THE PLAN.

       E.      Important Dates

        The Bankruptcy Court approved this Disclosure Statement by and through the Disclosure
Statement Approval Order entered on [_______], 2024 after notice and a hearing and in accordance
with section 1125 of the Bankruptcy Code. The Bankruptcy Court found that the information
contained herein is of the kind, and is sufficiently detailed, to enable a hypothetical, reasonable
investor typical of the class being solicited to make an informed judgment concerning the Plan.
HOWEVER, THE BANKRUPTCY COURT HAS NOT CONFIRMED THE PLAN, NOR IS
THIS DISCLOSURE STATEMENT OR THE DISCLOSURE STATEMENT APPROVAL
ORDER TO BE CONSTRUED AS APPROVAL OR ENDORSEMENT OF THE PLAN BY
THE BANKRUPTCY COURT.



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       As stated in the Disclosure Statement Approval Order, the Bankruptcy Court has scheduled a
hearing to consider Confirmation of the Plan for [_______], 2024 at __ a.m. (EST). Holders of
Claims and other parties in interest may attend this hearing. Objections to confirmation of the Plan
must be filed on or before [_______], 2024 as set forth in the Disclosure Statement Approval Order.

        All Ballots with respect to the Plan must be completed in full and signed to be counted in the
tabulation of the votes and must be received by the Voting Agent no later than 5:00 p.m. (EST) on
[_______], 2024.

        Completed and signed Ballots should be returned by first class mail to the Voting Agent at
the below address in the enclosed self-addressed return envelope:

                 By First Class Mail or Overnight/Hand Delivery:

                 M. Burton Marshall Ballot Processing
                 c/o Stretto
                 410 Exchange, Suite 100
                 Irvine, CA 92602

        Additionally, Ballots can be submitted electronically to the following website:

                 https://cases.stretto.com/BurtMarshallChapter11

       All Assignments with respect to any Bank Litigation Claims by Holders of Class 4 Claims
(General Unsecured Claims against Marshall) must be completed in full, signed, and received by the
Trustee if such Creditor wants to participate in any Bank Litigation Fund.

       Completed and signed Assignments of Bank Litigation Claims should be returned by first
class mail to the Trustee by no later than 5:00 p.m. (EST) on May 31, 2024.

                 By First Class Mail or Overnight/Hand Delivery:

                 Fred Stevens, Chapter 11 Trustee 2
                 c/o Klestadt Winters Jureller Southard & Stevens, LLP
                 200 West 41st Street, 17th Floor
                 New York, NY 10036

        Additionally, scanned original copies of the completed and signed Assignments of Bank
Litigation Claims can be sent to:

                 Fred Stevens at fstevens@klestadt.com; and
                 Lauren C. Kiss at lkiss@klestadt.com



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 If the Trustee is not selected by the Official Committee as the Plan Administrator, he will forward all Assignments
of Bank Litigation Claims timely received to the designated Plan Administrator.

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       F.      Solicitation Procedures

        Creditors holding Claims that are impaired have the right to vote to accept or reject the Plan.
Generally speaking, a Claim is impaired if the Plan alters the legal, contractual or equitable rights of
the holder of the Claim. A Class of creditors accepts the Plan when creditors holding two-thirds in
amount of such class and more than one-half in number of the Claims in such class who actually cast
their ballots vote to accept the Plan.

        In these Chapter 11 Cases, the Plan contains five (5) Classes of Claims. The Plan provides
that holders of Claims in one (1) Class of Claims are impaired in that the Plan alters the legal,
contractual and equitable rights of the holders of such Claims.

       G.      Recommendation

        In the opinion of the Plan Proponents, the treatment of creditors under the Plan contemplates
a greater recovery than that which is likely to be achieved under any other alternative for the
liquidation of the Debtors’ assets under chapter 11 or chapter 7 of the Bankruptcy Code. Accordingly,
the Plan Proponents believe that confirmation of the Plan is in the best interests of the Debtors’
creditors and recommend that all holders of Claims entitled to vote on the Plan vote to accept the
Plan.

       H.      Inquiries

       If you have any questions about the packet of materials that you have received, please
contact the Voting Agent by telephone at 855-613-4535 during normal business hours.

II.    BACKGROUND

       A.      History of the Debtors

        The following information regarding Marshall’s businesses is taken from the Declaration
of M. Burton Marshall Pursuant to Local Bankruptcy Rule 2015-2 (the “Marshall Declaration”)
[Docket No. 7]. As set forth in greater detail in the Marshall Declaration, prior to the Trustee’s
appointment, Marshall owned and operated a tax return preparation services business through
Marshall Tax Service, a storage services business through Marshall Moving and Marshall Storage,
a printing services business through M&M Press, and real estate rental services through Marshall
Maintenance and Marshall Rentals. See Marshall Declaration, ¶ 1. Marshall individually owns
over one hundred rental properties containing over 240 residential units through M. Burton
Marshall d/b/a Marshall Rentals. Id. at ¶ 2. Nineteen of the rental properties are subject to
mortgages, and fourteen of the mortgages contain an assignment of rent provision, pledging rent
received from tenants as additional collateral to the mortgagee. Id. Marshall’s businesses were
funded by personal borrowing pursuant to unsecured, 30 day demand notes. Id. at ¶ 5. “Numerous
creditors believe they are victims of a wide-ranging, long-standing Ponzi scheme, wherein they
were promised an 8% return for investing in a fund [Marshall] claimed to be maintaining.” See
Joint Stipulation of Facts, Docket No. 195, ¶ 18. “[Marshall] denies any fraud and claims that his



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obligations to noteholders were loans he intended to repay through the appreciation of the value
of his real estate holdings.” Id. at ¶ 19.

        Prior to the Marshall Inc. Petition Date, according to the documents filed in the Marshall
Bankruptcy Case, Marshall owned 100% of the stock in Marshall Inc. See Debtor’s Motion for
Orders Pursuant to Sections 105 and 363 of the Bankruptcy Code and Bankruptcy Rules 6004:
(A) Authorizing the Sale of All Asset of Miles B. Marshall, Inc. Free and Clear of All Liens, Claims,
Interests and Encumbrances; and (B) Authorizing Debtor to Consummate All Transactions
Related to the Proposed Sale, Docket No. 213, ¶ 10. Marshall Inc. was an independent insurance
agency with offices in Hamilton, New York. Id. at ¶ 12. Marshall Inc. is a New York corporation,
founded in 1962, and is classified under the Standard Industrial Classification Code 6411. Id.
Prior to the Marshall Inc. Petition Date, Marshall Inc. provided personal and commercial lines of
insurance coverage to its clients. Id. at ¶ 13. Marshall Inc. represented a variety of carriers,
providing its clients with auto, home, business and workers compensation insurance. Id.

       B.      Events Leading to the Marshall Bankruptcy Filing

        According to Marshall, his bankruptcy filing was largely a result of his hospitalization prior
to the Marshall Petition Date during which time he underwent two (2) surgeries. See Marshall
Declaration, ¶ 6. While he was out of the office, Marshall estimates that he lost approximately
$600,000 in income from his tax return preparation business. Id. In addition, as news of his illness
spread, there was an increase in requests by noteholders for return of their principal and/or interest,
which requests could not be fulfilled by Marshall. Id. The Trustee’s subsequent investigation has
revealed that the liquidation value of Marshall’s assets is less than one-fifth the estimated amount
of valid Claims against his bankruptcy estate.

III.   SIGNIFICANT EVENTS DURING THE CHAPTER 11 CASES

       A.      The Appointment of the Official Committee

      On May 9, 2023, the U.S. Trustee formed the Official Committee in the Marshall
Bankruptcy Case [Docket No. 52], appointing the following parties as members of the Official
Committee: (i) Mark Brennan; (ii) East Schuyler Cemetery; (iii) Kevin Fuller; (iv) Cheryl A.
Hallam; (v) Robyn G. Lamb; (vi) Kevin Sharpe (Chairperson); and (vii) Charles J. Wharton.

       B.      The Appointment of the Trustee

        On June 27, 2023, the U.S. Trustee filed the United States Trustee’s Motion Under 11
U.S.C. § 1104(a) to Appoint a Chapter 11 Trustee or, in the Alternative, to Appoint an Examiner
Under 11 U.S.C. § 1104(c), and Memorandum of Points and Authorities in Support and
Reservation of Rights (the “Motion to Appoint a Trustee”) [Docket No. 106]. Under Section
1104(a)(1) of the Bankruptcy Code, a bankruptcy court must appoint a trustee if, after notice and
a hearing, a movant demonstrates “cause.” 11 U.S.C. § 1104(a)(1). Section 1104(a)(1) provides
four non-exclusive circumstances constituting “cause” for the appointment of a trustee “including
fraud, dishonesty, incompetence, or gross mismanagement of the affairs of the debtor by current
management, either before or after the commencement of the case, or similar cause . . .” Id. In its

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Motion to Appoint a Trustee, the U.S. Trustee asserted that a finding of cause based on fraud was
warranted because “1) [Marshall] induced more than a thousand individuals to lend him millions
of dollars, promising a return of 8% interest on a 30-day demand note; 2) [Marshall] financed the
Eight Percent Fund investment scheme by admittedly borrowing new sums of money to service
existing debts; 3) [Marshall] knew that he could not repay noteholders through his tax preparer
and rental property businesses, yet he continued to borrow more money; and 4) [Marshall]
admittedly issued Form 1099-INT statements to noteholders in lieu of repaying them, causing them
to incur greater losses by paying taxes on money they did not receive.” Motion to Appoint a
Trustee, ¶ 28. The U.S. Trustee argued that based on the facts and circumstances of Marshall’s
business model, the hallmarks of a Ponzi scheme were present. Id. at ¶ 21. In addition, the U.S.
Trustee asserted that a finding of cause based on gross mismanagement was warranted because
“[Marshall] continued to convince community members, their friends, and families to invest their
money knowing that the value of his real estate portfolio was insufficient to cover the debt he owed
to noteholders, putting his creditors at risk of recovery with every new dollar that he convinced
them to invest.” Id. at ¶ 36.

        The Motion to Appoint a Trustee was joined by the Official Committee (the “Joinder”)
[Docket No. 140] and was supported by two groups of creditors [Docket Nos. 130 and 132]. The
Joinder filed by the Official Committee asserted that the appointment of a trustee was warranted
under both sections 1104(a)(1) and 1104(a)(2) of the Bankruptcy Code. Under section 1104(a)(2),
even when there is no cause to appoint a trustee under section 1104(a)(1), the court may consider
whether the appointment of trustee is “in the interests of creditors, any equity security holders, and
other interests of the estate . . .” 11 U.S.C. § 1104(a)(2).

        The Motion to Appoint a Trustee was opposed, in part, by Marshall (“Marshall’s Partial
Objection”) [Docket No. 137] and Marshall’s wife Megan Marshall [Docket No. 135]. In
Marshall’s Objection, Marshall asserted that the U.S. Trustee failed to meet its burden in
establishing cause for the appointment of a trustee. See Marshall’s Partial Objection, ¶ 4. In
particular, Marshall argued that because he had been removed from management of his businesses
in favor of Algon Capital, LLC d/b/a Algon Group (“Algon”), his past conduct was irrelevant to
the appointment of a trustee under section 1104(a)(1) of the Bankruptcy Code. Id. Marshall argued
that Algon was impartial, had assumed full control of his businesses, and there are no allegations
of any kind pertaining to either his or Algon’s post-petition conduct, thereby rending the U.S.
Trustee’s allegations in the Motion to Appoint a Trustee irrelevant and insufficient. Id. at ¶¶ 22,
51.

      On July 24, 2023, the U.S. Trustee filed a declaration in further support of the Motion to
Appoint a Trustee [Docket No. 150].

       On July 25, 2023, the Bankruptcy Court heard oral argument on the Motion to Appoint a
Trustee and on July 28, 2023, the Bankruptcy Court issued a Memorandum-Decision and Order
determining that an evidentiary hearing was necessary (the “Decision Requiring Evidentiary
Hearing”) [Docket No. 160]. The Bankruptcy Court noted that if Marshall was still managing his
businesses, it would find cause and appoint a trustee without an evidentiary hearing. See Decision
Requiring Evidentiary Hearing, p. 6-7 (“Although the precise pathway is obscure, there is no
conceivable way [Marshall] reached this destination absent massive fraud, dishonesty,

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incompetence, or gross mismanagement.”). However, Marshall’s retention of Algon and its
expanded role in the case required further consideration. As detailed in the Decision Requiring
Evidentiary Hearing, Marshall engaged Algon as financial advisor and chief restructuring officer
shortly after the Marshall Petition Date, with Marshall remaining responsible for operating his
businesses. Id. In July of 2023, Marshall informed the Bankruptcy Court that Algon’s role had
“significantly evolved” and that Marshall had “ceded all decisional authority over the businesses .
. . to Algon”, which now had “full control over the businesses[‘] finances and bank accounts.” Id.
at p. 8 (citations omitted). The Bankruptcy Court concluded that “[o]n the current record, this
Court finds no basis on which to conclude that Algon has engaged in fraud, dishonesty,
incompetence, or gross management and/or that any other aspect of Algon’s management of
Marshall’s affairs constitutes cause sufficient to justify the extraordinary remedy of appointing an
1104 trustee.” Id. at p. 9. Accordingly, the Court determined that the question of whether to
appoint a trustee under section 1104(a)(1) turns on the identity of “current management.” Id. After
considering the evidence before it, the Court concluded the following:

                The record presently before this Court indicates that Algon is currently
        managing [Marshall’s] businesses, Algon is free of any taint from [Marshall], and
        there are no grounds for establishing cause sufficient to remove Algon and appoint
        a trustee under § 1104(a)(1).

                However, given the nature and extent of [Marshall’s] pre-petition conduct,
        as well as the highly personal, closely-held nature of the underlying businesses, this
        Court finds that an evidentiary hearing is warranted. With respect to this aspect of
        the Motion, the Court will be seeking evidence as to (a) whether there has actually
        been a change in management and (if so) whether there is (b) cause of concern
        regarding Algon’s management and (c) whether sufficient safeguards can be
        established to ensure [Marshall] remains divested of control and deprived of any
        opportunity to engage in fraud, dishonesty, incompetence, or gross
        mismanagement.

Id. at p. 17.

         The Bankruptcy Court then analyzed whether the appointment of a trustee was appropriate
under section 1104(a)(2) of the Bankruptcy Code. While the Motion to Appoint a Trustee did not
seek relief under section 1104(a)(2), the Joinder filed by the Official Committee advocated for
appointment of a trustee under both sections 1104(a)(1) and 1104(a)(2) and the appointment of a
trustee under section 1104(a)(2) was addressed at oral argument. Id. at p. 17, fn. 7. The
Bankruptcy Court reasoned that although judicial discretion is broad under section 1104(a)(2),
courts generally consider the following factors: “(i) the trustworthiness of the debtor, (ii) the
debtor in possession’s past and present performance and prospects of the debtor’s rehabilitation;
(iii) the confidence – or lack thereof – of the business community and of the creditors in present
management; and (iv) the benefits derived by the appointment of a trustee, balanced against the
cost of appointment.” Id. at p. 18 (citations omitted). Upon examination of the factors, the
Bankruptcy Court concluded that further development of the record was required for a proper
determination of the section 1104(a)(2) factors. Id. at p. 20.



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       On August 30, 2023 the parties filed a Stipulation of Facts [Docket No. 195] and
Statements of Contested Legal and Evidentiary Issues [Docket Nos. 196, 197, 198 and 199]. An
evidentiary hearing was held before the Bankruptcy Court in Utica, New York on September 6
and 12, 2023.

        After presentation of the evidence, the Bankruptcy Court heard oral argument and issued
an oral ruling granting the Motion to Appoint a Trustee pursuant to section 1104(a)(1) of the
Bankruptcy Code. On September 20, 2023, the Bankruptcy Court issued a Memorandum-Decision
and Order Granting Motion to Appoint a Trustee (the “Trustee Decision”) [Docket No. 221]. The
Court found that “it is not legally possible, or practically feasible, to separate [Marshall’s]
businesses from [Marshall] himself, as would be necessary to consider the businesses under new
‘management.’ As such, this Court [found] clear and convincing evidence of cause sufficient to
require the appointment of a trustee under 1104(a)(1) of the Bankruptcy Code.” Trustee Decision,
p. 6. In reaching this conclusion, the Bankruptcy Court noted that “a sole proprietorship has no
legal existence apart from its owner.” Id. at p. 7 (citations omitted). Recognizing a change in
management of [Marshall] would require the recognition of the sole proprietorships as separate
entities, separate and apart from [Marshall], which is not possible or permitted under the law. Id.
at pp. 7-8. Further, the Bankruptcy Court concluded that even if it were to consider Algon as new
management, “the evidence establishes that [Marshall] retains vestiges of control and that Algon
cannot act as an independent fiduciary with respect to this Chapter 11 case.” Id. at p. 9. The
Bankruptcy Court’s finding that a trustee was warranted under section 1104(a)(1) rendered the
appointment of a trustee under section 1104(a)(2) moot.

       On September 21, 2023, the U.S. Trustee filed an application requesting the entry of an
order approving the appointment of Fred Stevens as Chapter 11 Trustee [Docket No. 224]. Also
on September 21, 2023, the Bankruptcy Court approved the appointment of Fred Stevens as
Chapter 11 Trustee and signed the Order Approving the United States Trustee’s Appointment of
Chapter 11 Trustee [Docket No. 225].

       C.      The Bankruptcy Filing of Miles B. Marshall, Inc. by the Trustee

        All the equity interests in Marshall Inc. are owned by the Marshall Bankruptcy Estate and,
as a result, are under the Trustee’s control. On September 25, 2023, the Trustee facilitated the
closing on the sale of substantially all of Marshall Inc.’s assets to Skeele Agency, Inc. as authorized
by the Bankruptcy Court’s order, dated September 22, 2023, authorizing the sale [Docket No. 226].
In the Trustee’s business judgment, on September 26, 2023 (the “Marshall Inc. Petition Date”) the
Trustee commenced a voluntary petition for relief under chapter 11 of the Bankruptcy Code for
Marshall Inc. for at least the following reasons: (i) to ensure control and transparency with respect
to the corporate asset of the Marshall Bankruptcy Estate; (ii) to create a mechanism to determine
the existence of any creditors of Marshall Inc. prior to distributing Marshall Inc.’s assets consisting
primarily of the proceeds of the sale of the insurance business to the Marshall Bankruptcy Estate,
its sole shareholder; (iii) to create claims that may exist in favor of Marshall Inc.’s estate under
Chapter 5 of the Bankruptcy Code and a means of pursuing those claims, if any; and (iv) to use
Marshall Inc. for continuing to employ and compensate ordinary course consultants and employees
necessary for the orderly winddown and liquidation of the Marshall Bankruptcy Estate and all of
its assets, including Marshall Inc.

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       D.      Retention of Professionals

      On May 31, 2023, the Bankruptcy Court entered an order granting the application to
employ Barclay Damon LLP as counsel to Marshall [Docket No. 81].

      On June 28, 2023, the Bankruptcy Court entered an order granting the application to
employ HKA Global, LLC (“HKA”), as financial advisor to the Official Committee [Docket No.
114].

       On July 27, 2023, the Bankruptcy Court entered an order granting the application to employ
Bond, Schoeneck & King, PLLC as counsel to the Official Committee [Docket No. 155].

       On September 29, 2023, the Bankruptcy Court entered an order granting the application to
employ Klestadt Winters Jureller Southard & Stevens (“KWJS&S”) as general counsel to the
Trustee effective as of September 21, 2023 [Docket No. 237].

       On September 29, 2023, the Bankruptcy Court entered an order granting the application to
employ RK Consultants, LLC as financial advisors to the Trustee effective as of September 21,
2023 [Docket No. 238].

       On October 12, 2023, the Bankruptcy Court entered an order granting the application to
employ KWJS&S as general counsel to Marshall Inc. effective as of September 26, 2023 [Docket
No. 23 in Case No. 23-60723].

       On October 19, 2023, the Bankruptcy Court entered an order granting the application to
employ Stretto, Inc. (“Stretto”) as administrative advisor to the Trustee effective as of September
22, 2023 [Docket No. 251].

        On May 23, 2023, Marshall filed an application for an order authorizing him to retain
Algon as his financial advisor (the “Algon Application”) [Docket No. 72]. On July 18, 2023,
creditors Gerard Locascio and the Wanda Warren Berry Living Trust represented by Longstreet &
Berry, LLP, creditors represented by Tina M. Wayland-Smith, Esq., and the Official Committee
filed objections to the Algon Application (collectively, the “Algon Objections”) [Docket Nos. 129,
131, 133 & 138, respectively]. Following the filing of the Algon Objections, Marshall filed replies
and other pleadings in support of the Algon Application [Docket Nos. 151 and 183], and the U.S.
Trustee and Official Committee filed supplements to their objections [Docket Nos. 176 & 182,
respectively]. On October 23, 2023, the Bankruptcy Court “So Ordered” a certain Stipulation and
Order Resolving Objections to the Debtor’s Application to Retain Algon Capital, LLC d/b/a Algon
Group as Financial Advisors Effective as of May 22, 2023 but Reserving All Issues Related to
Algon Capital, LLC’s Fees and Reimbursement of Expenses (the “Algon Stipulation” [Docket No.
256], pursuant to which Marshall’s employment and retention of Algon as financial advisor was
approved effective May 22, 2023 through and including September 21, 2023. In addition, the
Algon Stipulation preserved all parties rights to object to the allowance and award of any fees,
commissions, compensation or reimbursement of expenses sought by Algon.




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      On October 23, 2023, the Bankruptcy Court entered an order granting the application to
employ Stretto as claims and noticing agent effective as of September 22, 2023 [Docket No. 257].

        On October 26, 2023, the Bankruptcy Court entered an order granting the application to
employ Keen-Summit Capital Partners LLC (“Keen-Summit”) as real estate broker to the Trustee
effective as of October 11, 2023 [Docket No. 261].

        On January 24, 2024, the Bankruptcy Court entered an order granting the application to
employ Hancock Estabrook, LLP, as special real estate transactional counsel to the Trustee
effective as of January 9, 2024 [Docket No. 310].

        On February 8, 2024, the Bankruptcy Court entered an order granting the application to
employ First Nationwide Title Agency LLC (“FNT”), as title report preparer to the Trustee
effective as of January 31, 2024 [Docket No. 315].

       E.      Schedules of Assets and Liabilities, Statement of Financial Affairs

        On April 20, 2023, Marshall filed schedules of assets and liabilities and a statement of
financial affairs [Docket No. 3].

        On October 10, 2023, Marshall Inc. filed schedules of assets and liabilities and a statement
of financial affairs [Docket No. 19 in Case No. 23-60723].

       F.      Creditor Claims and the Bar Date for Filing of Claims Arising Prior to the
               Petition Dates

        The Schedules filed by Marshall on April 20, 2023 listed the following amounts
outstanding: (i) secured claims totaling approximately $2.3 million, and (ii) approximately 990
unsecured claims totaling approximately $90 million [Docket No. 3]. The Schedules filed by
Marshall Inc. listed the following amounts outstanding: (i) a secured claim totaling approximately
$5,000; and (ii) a priority claim totaling approximately $4,000 (with the priority claim being listed
as disputed). Each claim scheduled by a Debtor is referred to as a “Scheduled Claim,” and
collectively, “Scheduled Claims”.

        On April 27, 2023, the Bankruptcy Court entered an order (the “Marshall Bar Date Order”)
[Docket No. 34] fixing a deadline (the “Marshall Bar Date”) and establishing procedures for filing
proofs of claim against Marshall and its bankruptcy estate pursuant to Federal Rule of Bankruptcy
Procedure 3003(c)(3). The Marshall Bar Date Order fixed August 21, 2023 as the bar date by
which all Claims which arose prior to April 20, 2023, other than for governmental units, with
respect to Marshall had to be filed. The Marshall Bar Date Order also set a bar date of October
17, 2023 with respect to governmental entities. On August 14, 2023, the Bankruptcy Court “So
Ordered” a certain Stipulation and Agreed Order Extending the Deadline for Creditors to File
Proofs of Claim [Docket No. 179], which extended the general bar date from August 21, 2023 to
October 20, 2023.




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        On September 27, 2023, the Bankruptcy Court entered an order (the “Marshall Inc. Bar
Date Order” and together with the Marshall Bar Date Order, the “Bar Date Orders”) [Docket No.
7 in Case No. 23-60723] fixing a deadline (the “Marshall Inc. Bar Date”) and establishing
procedures for filing proofs of claim against Marshall Inc. and its bankruptcy estate pursuant to
Federal Rule of Bankruptcy Procedure 3003(c)(3). The Marshall Inc. Bar Date Order fixed
December 5, 2023 as the bar date by which all Claims which arose prior to September 26, 2023,
other than for governmental units, with respect to Marshall Inc. had to be filed. The Marshall Inc.
Bar Date Order also set a bar date of March 24, 2024 with respect to governmental entities.

         Not Every Holder of a Claim Was Required to Timely File a Proof of Claim. The Marshall
Bar Date Order and Marshall Inc. Bar Date Order only required creditors to timely file a proof of
claim if (a) their Scheduled Claim is designated as disputed, contingent, or unliquidated, (b) they
did not have a Scheduled Claim but believed they held a Claim against one or both of the Debtors,
or (c) they disagreed with the amount of their Scheduled Claim. Otherwise, the creditor would be
deemed to have timely filed a proof of claim in the amount of its Scheduled Claim.

        In accordance with Federal Rule of Bankruptcy Procedure 3003(c)(2), holders of Claims
other than Scheduled Claims who failed to comply with the terms of the Bar Date Orders, are
forever barred from (i) filing a proof of claim with respect to such Claim, (ii) asserting such Claims
against the Debtors or their Estates and/or property, (iii) voting on any plan filed in these Chapter
11 Cases, and (iv) participating in any Distribution in the Chapter 11 Cases on account of such
Claims.

        A total of 781 claims were filed against Marshall and its bankruptcy estate, most of which
simply altered, or most often enhanced, the extent, validity, or priority of already Scheduled
Claims. In the aggregate and on a consolidated basis, the claims asserted the following amounts:
(i) secured claims in the amount of approximately $2.6 million; (ii) priority claims in the amount
of approximately $30,000; and (iii) unsecured claims in the amount of approximately $116 million.

       A total of three (3) claims were filed against Marshall Inc. and its bankruptcy estate. In
the aggregate and on a consolidated basis, the claims asserted the following amounts: (i) priority
claims in the amount of approximately $10,000; and (iii) unsecured claims in the amount of
approximately $100.

      The Plan Proponents have been working to reconcile the Scheduled Claims and proofs of
Claim filed to determine which, if any, warrant objection. As set forth in the Plan, the Plan
Administrator shall have the right to object to Claims in accordance with section 502(a) of the
Bankruptcy Code following confirmation of the Plan.

       G.      Termination of Substantially All of the Debtors’ Employees

         Prior to the Trustee’s appointment, Marshall employed between 15-17 employees in jobs
ranging from building and grounds maintenance, commercial printing, bookkeeping and general
office work. Shortly after the Trustee’s appointment, he took the following actions: (i) determined
to sell or discontinue the printing business, M&M Press, and ultimately sold substantially all assets
of that business to The Ad Group Agency, Inc., pursuant to a notice of sale dated October 26, 2023

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[Docket No. 260], leading to the termination of all employees associated with the business,
including Marshall’s son, Matthew Marshall; (ii) determined to transition all property management
activities to a third-party provider, Property Management Alliance LLC (“PMA”), and all
employees associated with the business were either transitioned to PMA or terminated by the
Trustee; and (iii) terminated all remaining employees who had not resigned except for Joi Young,
who remains employed for purposes of responding to customer inquiries and managing remaining
office affairs, and David Will, who remains employed on a part-time basis to provide any necessary
IT support services.

        H.      Disposition of Assets of During the Chapter 11 Cases

        On September 19, 2023, Marshall filed a motion seeking entry of an order (i) authorizing
the sale of substantially all of Marshall Inc.’s assets free and clear of all liens, claims, interests and
encumbrances, and (ii) authorizing Marshall to consummate all transactions related to the proposed
sale (the “Insurance Sale Motion”) [Docket No. 213].

        On September 22, 2023, the Court entered an order granting the Insurance Sale Motion and
authorizing the sale of substantially all of Marshall’s Inc.’s assets free and clear of all liens, claims
and encumbrances to Skeele Agency, Inc. (“Skeele”) [Docket No. 226]. On September 25, 2023,
the Trustee and Skeele closed on the sale of substantially all of Marshall Inc.’s assets pursuant to
a certain Asset Purchase Agreement (the “APA”). In accordance with the terms of the APA, in
exchange for the sale of substantially all of Marshall Inc.’s assets, Skeele paid $850,000 in cash
and issued a promissory note to the Trustee in the amount of $488,000 (the “Skeele Promissory
Note”). Pursuant to the terms of the Skeele Promissory Note, after deducting certain commission
adjustments that were due to Skeele totaling $7,036.01, the Trustee received $480,963.99 from
Skeele on account of the Skeele Promissory Note in late January 2024.

        On October 13, 2023, the Trustee filed a motion (the “De Minimis Asset Sale Procedures
Motion”) seeking entry of an order authorizing the Trustee to implement expedited procedures to:
(a) sell certain assets, including any rights or interests therein (collectively, the “De Minimis
Assets”) in any individual transaction or series of related transactions (each a “De Minimis Asset
Sale”) to a buyer with a sale price equal to or less than $25,000 as calculated within the Trustee’s
reasonable discretion, free and clear of all liens, claims, interests, and encumbrances (collectively,
the “Liens”), without the need for further Court approval and with Liens attaching to the proceeds
of such use, sale or transfer with the same validity, extent and priority as had attached to the De
Minimis Assets immediately prior to the sale; (b) abandon De Minimis Assets to the extent that a
sale thereof cannot be consummated at a value greater than the cost of liquidating such De Minimis
Assets; and (c) pay those reasonable and necessary fees and expenses (if any) incurred in
connection with the use, sale, or transfer of De Minimis Assets, including, but not limited to,
commission fees to agents, brokers, auctioneers, and liquidators with the amount of proposed
commission fees to be paid to be disclosed in the Sale Notice (as defined in the De Minimis Asset
Sale Procedures Motion) [Docket No. 246].

       On October 14, 2023, the Bankruptcy Court entered an order approving the De Minimis
Asset Sale Procedures Motion (the “De Minimis Asset Sale Procedures Order”) [Docket No. 284].
In accordance with the terms of the De Minimis Asset Sale Procedures Order, the Trustee closed

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on the following De Minimis Asset Sales following entry of the De Minimis Asset Sale Procedures
Order:

  Identification of Sale Assets          Purchaser          Purchase Price and                  Docket
                                         of the Sale        Material Economic Terms             Number
                                         Assets             and Conditions of the Sale:         of Sale
                                                                                                Notice
  All of the Seller’s right, title and   The Ad             The Ad Group Agency, Inc.           Docket
  interest in that certain printing      Group              paid $20,000 to the Trustee.        No. 260
  business known as “M&M                 Agency, Inc.       In addition, Matthew B.
  Press” (the “Business”),                                  Marshall, Marshall’s son who
  including the:                                            has managed the Business
      (A)      Customer List;                               since in or around 2015 has
      (B)      Good Will;                                   agreed, as part of the sale, to
      (C)      Telephone Numbers;                           release any and all claims
      (D)      Inventory; and                               that he has against Marshall’s
      (E)      Equipment.                                   Bankruptcy Estate.

  2019 Ford F250 Super Duty       Property                  PMA paid $25,000 to the             Docket
  Regular Cab Pickup Truck with   Management                Trustee.                            No. 263
  approximately 20,000 miles used Alliance
  in Marshall’s property
  management business

  Snow plow for pickup truck,            Property           PMA paid $4,000 to the              Docket
  snow blower, and ice salter used       Management         Trustee.                            No. 264
  in Marshall’s property                 Alliance
  management business

       I.         Sale of the Properties in Connection with the Plan

       The Plan shall be funded by a combination of the proceeds of sale of the Debtors’ Assets,
and proceeds from liquidation of remaining Assets, including the sale of the Properties. The
Properties consist of the following:

        Tax ID          Street Number          Street Name                      Municipality
  111.18-1-29                            Reservoir Rd                 252601 - V. Morrisville
  111.18-1-37                            Marshall Heights             252601 - V. Morrisville
  111.18-2-32                            Reservoir Road               25269 - Eaton
  137.-3-10                  2674        Route 12B                    254089 - Madison
  153.12-1-14                2521        Lake Moraine Rd              254089 - Madison
  154.-2-30                  4250        E Lake Road                  254089 - Madison
  154.6-3-45                 7209        Butternut Lane               254089 - Madison
  168.-1-37                  1873        Preseton Hill Road           253289 - Hamilton
  168.11-1-23.1               131        Lebanon Street               253203 - V. Hamilton, Hamilton


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      Tax ID    Street Number          Street Name             Municipality
168.11-1-37.3         98        College Street        253203 - V. Hamilton, Hamilton
168.27-1-8            34        Montgomery Street     253203 - V. Hamilton, Hamilton
168.28-1-52             20      Payne Street          253203 - V. Hamilton, Hamilton
168.35-1-77             29      Pine Street           253203 - V. Hamilton, Hamilton
114.-2-16              7531     Route 20              254089 - Madison
114.15-1-48            7407     Route 20              254001 - Madison
114.15-1-61            7382     Route 20              254001 - Madison
136.18-1-69            4101     Route 26              252689 - Eaton
137-01-42                       Route 12B             252689 - Eaton
152.6-1-34             2804     River Road            252689 - Eaton
153.-2-2                        Route 12B             254089 - Madison
153.-2-32              6767     Airport Rd            254089 - Madison
153.-2-44              2405     Johnny Cake Hill Rd   254089 - Madison
153.19-1-40             75      Utica St              253203 - V. Hamilton, Hamilton
153.19-1-41             73      Utica St              253203 - V. Hamilton, Hamilton
153.19-1-44             67      Utica St              253203 - V. Hamilton, Hamilton
153.20-1-35             48      Madison St            253203 - V. Hamilton, Hamilton
153.20-1-40             36      Madison St            253203 - V. Hamilton, Hamilton
153.83-1-5            32 - 34   Eaton St              253203 - V. Hamilton, Hamilton
153.83-1-6             28-30    Eaton St              253203 - V. Hamilton, Hamilton
153.83-1-9              22      Eaton St              253203 - V. Hamilton, Hamilton
153.83-1-28             66      Utica St              253203 - V. Hamilton, Hamilton
153.83-1-29             68                            253203 - V. Hamilton, Hamilton
153.83-1-32             15      Wylie St              253203 - V. Hamilton, Hamilton
153.83-1-33             13      Wylie St              253203 - V. Hamilton, Hamilton
153.84-1-3              28      Madison St            253203 - V. Hamilton, Hamilton
153.84-1-4              26      Madison St            253203 - V. Hamilton, Hamilton
154.-2-8               2677     Lake Moraine Rd       254089 - Madison
154.-2-34.2            7220     Butternut Ln          254089 - Madison
154.6-3-42             4332     E Lake Rd             254089 - Madison
154.17-1-6              12      E Lake Rd             253203 - V. Hamilton, Hamilton
154.17-2-9             7019     Payne St              253289 - Hamilton
168.-1-6               2000     Randallsville Rd      253289 - Hamilton
168.-1-28.2                     Route 12B             253289 - Hamilton
168.7-1-26              82      Lebanon St            253203 - V. Hamilton, Hamilton
168.11-1-10            134      Lebanon St            253203 - V. Hamilton, Hamilton
168.11-1-24            135      Lebanon St            253203 - V. Hamilton, Hamilton
168.11-1-37.2          175      Lebanon St            253203 - V. Hamilton, Hamilton
168.11-1-37.4          173      Lebanon St            253203 - V. Hamilton, Hamilton
168.15-2-6              87      College St            253203 - V. Hamilton, Hamilton
168.27-1-18             14      Montgomery St         253203 - V. Hamilton, Hamilton
168.27-1-33             39      Montgomery St         253203 - V. Hamilton, Hamilton

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      Tax ID     Street Number         Street Name            Municipality
168.27-1-46            34        Lebanon St          253203 - V. Hamilton, Hamilton
168.27-1-52           59-61      Lebanon St          253203 - V. Hamilton, Hamilton
168.27-1-53            53        Lebanon St          253203 - V. Hamilton, Hamilton
168.27-1-56            45        Lebanon St          253203 - V. Hamilton, Hamilton
168.27-1-86            11        Madison St          253203 - V. Hamilton, Hamilton
168.28-1-17           33-37      Lebanon St          253203 - V. Hamilton, Hamilton
168.28-1-20            11        Maple Ave           253203 - V. Hamilton, Hamilton
168.28-1-22            15        Maple Ave           253203 - V. Hamilton, Hamilton
168.28-1-29             4        W Pleasant St       253203 - V. Hamilton, Hamilton
168.28-1-56             7        Charles St          253203 - V. Hamilton, Hamilton
168.35-1-4            25-27      Milford St          253203 - V. Hamilton, Hamilton
168.35-1-9             37        Milford St          253203 - V. Hamilton, Hamilton
168.35-1-18             8        Montgomery St       253203 - V. Hamilton, Hamilton
168.35-1-24.11         71        Lebanon St          253203 - V. Hamilton, Hamilton
168.35-1-44.1         89-91      Lebanon St          253203 - V. Hamilton, Hamilton
168.35-1-47            99        Lebanon St          253203 - V. Hamilton, Hamilton
168.35-1-59            16        Pine St             253203 - V. Hamilton, Hamilton
168.35-1-72            11        Pine St             253203 - V. Hamilton, Hamilton
168.35-1-74            15        Pine St             253203 - V. Hamilton, Hamilton
168.35-1-75            21        Pine St             253203 - V. Hamilton, Hamilton
168.36-1-53            13        Hamilton St         253203 - V. Hamilton, Hamilton
168.43-1-17           21-23      West Kendrick Ave   253203 - V. Hamilton, Hamilton
168.43-1-18            19        West Kendrick Ave   253203 - V. Hamilton, Hamilton
168.52-1-2             24        College St          253203 - V. Hamilton, Hamilton
169.-1-3              2032       Spring St           253289 - Hamilton
169.-1-4              2024       Spring St           253289 - Hamilton
183.-1-8.1                       Preston Hill Rd     253289 - Hamilton
183.-1-8.2                       Preston Hill Rd     253289 - Hamilton
183.-1-8.3                       Preston Hill Rd     253289 - Hamilton
183.-1-8.4                       Preston Hill Rd     253289 - Hamilton
183.-1-8.5                       Horton Rd           253289 - Hamilton
183.-1-8.6                       Horton Rd           253289 - Hamilton
183.-1-8.7                       Horton Rd           253289 - Hamilton
183.-1-8.8                       Horton Rd           253289 - Hamilton
213.16-1-6.1        101-103      N Main St           253201 - V. Earlville
213.16-1-6.5                     Off N Main St       253201 - V. Earlville
213.20-1-5             35        Fayette St          253201 - V. Earlville
213.20-2-2              4        Fayette St          253201 - V. Earlville
213.20-2-23                      Fayette St          253201 - V. Earlville
213.20-2-23.1         60-62      Fayette St          253201 - V. Earlville
213.20-3-13             1        Clark St            253201 - V. Earlville
213.20-3-26            16        N Main St           253201 - V. Earlville

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        Tax ID         Street Number         Street Name                 Municipality
  213.20-3-29                 5        E Main St                253201 - V. Earlville
  213.20-3-43                 6        Madison St               253201 - V. Earlville
  213.20-3-45              15 - 21     E Main St                253201 - V. Earlville
  214.17-1-11                45        Clyde St                 253201 - V. Earlville
  214.17-1-16                40        Clyde St                 253201 - V. Earlville
  214.17-1-19                34        Clyde St                 253201 - V. Earlville
  214.17-1-38               83-85      E Main St                253201 - V. Earlville
  213.19-1-5                 84        W Main St                253400 - Lebanon
  136.18-1-68               4097       Route 26 St              252689 - Eaton
  114.15-1-72               7336       Route 20                 254001 - V. Madison
  114.15-1-75               3618       South St                 254001 - V. Madison
  153.-2-1                  2649       Route 12B                254089 - Madison
  153.11-1-9                5227       English Ave              254089 - Madison
  137.-3-10                 2674       Route 12B                254089 - Madison
  126.-1-7.111              3534       Route 12B                254089 - Madison
  126.-1-74.1               3530       Route 12B                254089 - Madison
  138.14-1-12                918       Taylor Grove Rd          254089 - Madison

        The Trustee intends to file a motion within a few weeks of the date of this Disclosure
Statement, seeking entry of orders: (i) (a) approving bidding procedures and potential bidder
protections for the sale and potential auction (the “Auction”) of the Properties; (b) scheduling an
Auction, if necessary, and a hearing to approve the sale of the Properties (the “Sale Hearing”);
and (c) approving the form and manner of the Notice of the Auction and Sale Hearing (the “Sale
Notice”); and (ii) approving the sale of the Properties free and clear of all liens, claims and
encumbrances, security interests and other interests to the successful bidder(s) at the Auction.

       J.        Mortgages owned by the Marshall Bankruptcy Estate

        Marshall listed on his Schedules four (4) mortgages which were issued to Marshall by
certain individuals that Marshall loaned money to. The aggregate value of the mortgages listed on
the Schedules is $302,871.26. The properties secured by the mortgages are located in Earlville,
Hubbardsville and Hamilton, New York. The Trustee and his professionals are in the process of
marketing these mortgages for sale.

       K.        Investigation by the Official Committee

         The Official Committee is conducting a forensic investigation into Marshall’s prepetition
business practices, as well as Marshall’s current and historical books and records to identify and
trace funds and assets of Marshall, including any potentially diverted assets that may be recovered
for the benefit of the estate. In furtherance of the Official Committee’s investigation, on August
4, 2023, the Official Committee filed an application pursuant to Bankruptcy Rule 2004 for an order
directing production and turnover of documents by and examination of Berkshire Bank
(“Berkshire”) by an officer, director or managing agent with knowledge of Marshall’s financial
affairs (the “2004 Application”) [Docket No. 164]. On September 15, 2023, the Bankruptcy Court

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entered an order granting the 2004 Application (the “2004 Order”) [Docket No. 218]. The Official
Committee subsequently issued a subpoena to Berkshire and the professionals to the Official
Committee are in the process of reviewing the documents produced by Berkshire in response to
the subpoena.

        The Official Committee, together with the Trustee, is investigating whether there are
grounds to deny Marshall a discharge pursuant to section 1141(d)(3) of the Bankruptcy Code,
which provides that a debtor will not receive a discharge of debts when the following elements are
met: (1) the plan provides for the liquidation of all or substantially all of the property of the estate,
(2) the debtor does not engage in business after consummation of the plan, and (3) the debtor would
be denied a discharge under Bankruptcy Code section 727(a) if the case were a case under chapter
7. See 11 U.S.C. § 1141(d)(3). Under section 727(a)(5) of the Bankruptcy Code, “[t]he Court
shall grant the debtor a discharge unless . . . the debtor has failed to explain satisfactorily, before
determination of denial of discharge under this paragraph, any loss of assets or deficiency of assets
to meet the debtor's liabilities.” 11 U.S.C. § 727(a)(5). The Trustee has been in discussions with
Debtor’s counsel regarding the Debtor’s voluntary waiver of discharge pursuant to sections
727(a)(10) and 1141(d)(3)(C) of the Bankruptcy Code and is hopeful that the parties will be able
to reach a consensual resolution. If, however, a consensual resolution is not reached, to the extent
it is warranted, the Official Committee and/or the Trustee will file a complaint objecting to
Marshall’s discharge.

        L.      Claims Investigation and Reconciliation

         The Bankruptcy Code requires debtors to file a schedule of assets, liabilities, expenses,
obligations, and debts owed to creditors and other parties in interest. The amount that a debtor
lists for how much it owes a creditor is known as a “scheduled claim.” Scheduled claims are
presumed to be allowed unless they are labeled as “disputed,” “contingent,” or “unliquidated” on
the debtor’s schedules. Holders of claims presumed to be allowed may receive a distribution on
account of that scheduled claim under a chapter 11 plan. Any creditor with a claim that is not
scheduled, or scheduled as disputed, contingent, or unliquidated, or who disagrees with the
scheduled claim amount, may file a proof of claim, which will replace and supersede any scheduled
claim. To determine whether a filed proof of claim is accurate or valid, a claims reconciliation
process is typically conducted to reconcile filed proofs of claim against the debtor’s books and
records. If the debtor does not object to the filed proof of claim, the filed proof of claim will be
deemed “allowed,” or considered accurate and valid, and the creditor will be able to receive
distributions under a chapter 11 plan. If the debtor disputes a filed proof of claim by filing an
objection, the Bankruptcy Court must determine whether to “allow” or “disallow” the filed proof
of claim.

       Significant allegations have been made in this chapter 11 case regarding irregularities in
Marshall’s pre-petition business practices. Due to these allegations, the Trustee and the Official
Committee have explored the possibility that Marshall was engaged in a fraudulent scheme during
some or all times in the history of his businesses and through his practice of obtaining funds from
noteholders with a guaranteed rate of return while insolvent. In many chapter 11 cases involving
similar fraudulent schemes, creditors’ claims are subjected to a “net equity” analysis that
determines whether holders of claims received more or less than the claim to which each holder is

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entitled. Additionally, claims in excess of the initial principal balance may be reduced by
“fictitious profits” through a claim objection process, and avoidance actions may be commenced
to recover distributions received pre-petition by a creditor that are greater than the principal
balance of its original loan or investment. Such processes serve to address creditor recoveries in
cases where a fraudulent scheme has been determined to have occurred.

        If the Trustee or Plan Administrator were to implement these processes, they would have
to conduct a detailed historic claims reconciliation review, and would require access to accurate
and complete business records from Marshall regarding note balances and distributions at all times
in the history of Marshall’s business operations. Each promissory note holder’s principal balance
must be known before the Trustee or Plan Administrator is able to determine whether payments
received by each noteholder exceeded the initial investment. As set forth in greater detail below,
the New York State Office of the Attorney General (“OAG”) seized virtually all of Marshall’s
paper business records pertaining to the promissory notes. In January 2024, the OAG provided
Marshall with a digitized copy of all of the business records they seized, which was then sent to
the Trustee and Official Committee. However, there are 135,000 pages of documents without an
index identifying where the relevant promissory note information can be found. Accordingly, until
mid-January 2024, the Official Committee and the Trustee had access only to Marshall’s electronic
promissory note database that was created in or around January 2012.

       In order to determine the accurate principal and interest balance of each promissory note,
it would be necessary to conduct an extensive review of the unindexed digitized business records.
It would also be necessary to obtain banking and other records going back to at least the 1990’s,
many of which may no longer exist. The Official Committee and its professionals, including HKA,
have analyzed the scope of this undertaking and have reported that there are 471 active promissory
notes containing principal funds provided to Marshall prior to 2012. This number does not include
promissory notes that were transferred to other promissory notes prior to the time of conversion
which, based on HKA’s analysis of the post-2012 promissory notes, may require an additional
2,000 or more additional promissory notes to be extracted, reviewed, and digitized. Additionally,
the promissory note database was not integrated with the Marshall accounting records. Therefore,
payments made to noteholders were not accurately recorded in the noteholder database and
Marshall’s accounting system and bank statement records prior to 2014 are inadequate and may
be insufficient to provide necessary factual support for any analysis.

        In light of these issues, the Trustee, in consultation with the Official Committee, analyzed
the utility of even attempting to engage in a “net equity” claims analysis in recognition of
Marshall’s irregular business practices and has determined that such a process would not be in the
best interests of the estate. This is especially true where the Trustee and Plan Administrator may
be ultimately unable to reach an accurate and supportable result for creditors due to Marshall’s
business record deficiencies, even if the note reconciliation process were undertaken at great cost
to the estate. Therefore, the Trustee and Plan Administrator intend to rely primarily on scheduled
claim amounts and the electronic database as a guide for any claim objections and avoidance
actions. A critical factor in making this decision was that the cost of performing this analysis, to
the extent that could even be accomplished, is estimated to exceed $300,000 just for the
determination of principal balances alone and without an accounting of all payments that may have
been made to each creditor which, in some cases, go back to the 1990’s. The significant expense

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associated with any such analysis would reduce the amount available for distribution which in the
Trustee’s business judgment is not in the best interests of creditors. Such a process, again
assuming that it even could be completed with an acceptable degree of accuracy, would
significantly delay distributions and could result in inconsistent outcomes for noteholders due to
the unavailability of business records for certain time periods.

        With the assistance of his and the Official Committee’s professionals, the Trustee has
calculated what he believes to be the proper amount of each claim in Class 4 as detailed in the
schedule annexed hereto as Exhibit B [to be filed and suppled prior to solicitation]. The Plan
Administrator will file an omnibus motion to allow such claims as set forth on the annexed
schedule, as may be adjusted upon further analysis, although Class 4 claim holders will be
permitted to vote the amount of their claims as scheduled or filed as the case may be.

        M.       Investigation of Claims Against Banking Institutions

        As set forth by the U.S. Trustee in the Motion to Appoint a Trustee:

        [T]he Debtor convinced the local community to invest in his real estate operations
        for a promised 8% return. The noteholders were paid their 8% interest with funds
        from new investors. But the Debtor’s ‘business’ was insolvent, unable to pay the
        debts as they came due without new funds from new investors. The Debtor’s
        business model contains all the hallmarks of a Ponzi scheme.

Motion to Appoint a Trustee, ¶ 21. Potential claims and causes of action may exist against certain
banking institutions as a result of Marshall’s alleged questionable prepetition business practices.
These potential claims may include (i) aiding and abetting fraud, (ii) aiding and abetting breach of
fiduciary duty, (iii) unjust enrichment, and (iv) avoidance and recovery of fraudulent transfers,
among others. The Plan provides Creditors with the opportunity to assign their Bank Litigation
Claim to the Plan Administrator for prosecution. Creditors that choose not to assign their Bank
Litigation Claim to the Plan Administrator shall be permitted to pursue such claim individually
but shall lose any entitlement to participate in the Plan Administrator’s Bank Litigation Fund, if
any.

        N.       Term Life Insurance Policies

        Marshall has three significant term life insurance policies as follows:

       Issuer          Policy No.       Type-          Death                       Notes
                                       Maturity        Benefit
 Allstate Life       03TC006208      08/22/2032      $6,000,000   Annual premium through 2025 is $20,220,
 Insurance Co.                       – T(to80) –                  but then it jumps to $704,700
                                     Insured born
                                     8/23/1951
 Allstate Life       719 007 888     09/24/2032      $6,000,000   Premium due starting in 2024 will jump
 Insurance Co.                       – T(to80) –                  from $26,220 annually to $618,480
                                     Insured born
                                     08/23/1951



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       Issuer         Policy No.        Type-        Death                      Notes
                                       Maturity      Benefit
 The United States   WMA00000070     T20 issued    $6,000,000   Annual premium - $15,300
 Life Ins. Co.                       11/05/2004
                                     – Expires
                                     11/05/2024

        The Trustee’s due diligence has revealed that given Marshall’s apparent good health
following his medical issues earlier in 2023 (described above), that these policies do not have
significant value on the secondary market. Accordingly, subject to a final determination by the
Plan Administrator, the Trustee intends to: (i) retain the Policy No. 03TC006208 until the annual
premium increases to $704,700 after 2025 at which time it will be permitted to lapse; (ii) retain
the Policy No. 719 007 888 until the annual premium increases to $618,480 after 2024 at which
time it will be permitted to lapse; and (iii) retain the Policy No. WMA00000070 until it expires on
November 5, 2024. Thus, if hypothetically Marshall were to pass away in early 2024, the Plan
Administrator would recover $18 million in life insurance policy benefits for the benefit of the
Estate, but if Marshall were to live until the lapse of Policy No. 03TC006208, nothing will be
realized on account of the policies.

        O.      Investigation by Governmental Entities

        On or about July 5, 2023, the OAG obtained a search warrant from the State Court of New
York, County of Madison to search, seize and remove documents, business records, financial
records, computers, and other specified property located on the first floor and basement of 11
Maple Avenue, Hamilton, New York 13346 on the basis that such property may constitute
evidence or tend to demonstrate that the crimes of Grand Larceny in the First Degree under Penal
Law Article 155, Scheme to Defraud in the First Degree under Penal Law Article 190, and
Securities Fraud under New York State General Business Law Article 23-A have been committed
by Marshall, or that a particular person participated in the commission of such crimes for the time
periods June 1, 1995 through March 18, 2023. The OAG executed the search warrant on or around
July 6, 2023 and removed certain records from Marshall’s offices. It is the Trustee’s understanding
that Marshall is being investigated as a target for criminal prosecution by the OAG.

       On or about September 28, 2023, the United States Securities and Exchange Commission
(the “SEC”) issued subpoenas (collectively, the “SEC Subpoenas”) to Marshall and Marshall Inc.
The Trustee and his professionals as well as professionals for the Official Committee have had
numerous discussions with the SEC in connection with the SEC Subpoenas and on October 23,
2023, the Trustee started producing documents to the SEC that were responsive to the SEC
Subpoenas.

        P.      Tax Client Records

        On October 12, 2023, the Trustee sent a letter to former clients (each a “Tax Client”,
collectively the “Tax Clients”) of Marshall’s tax preparation business (the “Marshall Tax
Business”) informing Tax Clients that: (i) the Trustee and Marshall Bankruptcy Estate were not
operating the Tax Business; and (ii) where to submit requests for copies of Tax Clients’ records if
they needed them (“Tax Records”). On October 19, 2023, an amended letter was sent by the

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Trustee to Tax Clients to correct a typographical error in the email address for submissions of
requests for Tax Records.

        Since sending the letters to Tax Clients, the Trustee received several communications and
requests from Tax Clients that indicate a lack of clarity on these issues. As a result, the purpose
of the foregoing information is intended to clarify those issues.

       1. Where to Send Requests for Tax Records. All requests for Tax Records should be
          submitted by email to taxman@mbmarshall.com. Please do not contact the Trustee or
          any individual directly. It is important that all inquiries be sent to the designated email
          address so that the Trustee can respond expeditiously and maintain a clear record of
          such requests and the response.

       2. What the Trustee will Provide if Requested. The Trustee will provide Tax Clients
          with copies of previously prepared tax returns. The Trustee will not provide other
          documents or records to Tax Clients. The Trustee will also not provide original tax
          returns. If Tax Clients already have copies of their previously filed tax returns, they
          should not make a request for Tax Records as they already have everything that the
          Trustee is able to provide.

       3. The Trustee is NOT Destroying Tax Records Except in Accordance with Law and
          Approval by the Bankruptcy Court. The Trustee has received several requests for
          Tax Records from Tax Clients who have some of the following misconceptions: (i) that
          the Trustee is destroying all Tax Records and that if requests are not made now, no Tax
          Records will be maintained by or available from the Marshall Bankruptcy Estate,
          and/or (ii) that the Trustee can provide original documents and records to Tax Clients
          and then afterwards maintain no Tax Records for those Tax Clients. Neither of those
          things is true. The Trustee intends to maintain Tax Records for at least approximately
          four (4) years and, subject to Bankruptcy Court approval, will systematically destroy
          Tax Records that are older until no Tax Records are maintained by in or around 2028
          (subject to the requirements of subsection “c” below). The reason for this is as follows:

               a. IRS Rules. IRS Rules require tax preparers to maintain detailed client lists or
                  copies of returns prepared for three years after the close of the return period.
                  See 26 U.S.C. §§ 6060(c), 6107(b), 6695(d), and 7701(a)(36), Regs. Sec.
                  1.6695-2(b)(4)(ii), and IRS Publication 4687;

               b. NYS Rules. NYS Rules require tax preparers to maintain returns for the later
                  of three years after the due date of the return, or three years after the return was
                  presented to the taxpayer for signature. See NY Consol. Law, TAX § 658(g),
                  NYS DTF Publication 58 (1/15); and

               c. Legal Requirements Under Document Hold Demands. The Trustee has
                  received subpoenas and/or document hold demands from the OAG and the
                  SEC, who are conducting investigations of Marshall. Out of an abundance of



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                      caution, the Trustee is maintaining all Tax Records until the legal requirements
                      under those holds and subpoenas are lifted. 3

         4. Any Requests for the Destruction of Documents Must be Submitted to the
            Bankruptcy Court on Proper Notice. If after reading this notice, a Tax Client still
            intends to seek the Trustee’s turnover and destruction of all Tax Records related to the
            Tax Client, the Tax Client must seek such directive from the Bankruptcy Court by
            proper application. Such request must be made on proper notice to each of the relevant
            taxing authorities, the OAG, the SEC, and any other individual or entity entitled to such
            notice under the Bankruptcy Code and the Bankruptcy Rules.

         The Plan Administrator will keep and make available the required records of Tax Clients
for at least three (3) years in accordance with the laws of the United States and State of New York.

IV.      SUMMARY OF THE PLAN OF LIQUIDATION

         A.       General Plan Objectives

         Chapter 11 is the chapter of the Bankruptcy Code primarily used for business
reorganization but can also be used by individuals. Asset sales, stock sales, and other liquidation
efforts, however, can also be conducted during a chapter 11 case or pursuant to a chapter 11 plan.
Under chapter 11, the individual or company endeavors to restructure its finances such that it
maximizes recovery to its creditors.

        Formulation of a chapter 11 plan is the primary purpose of a chapter 11 case. A chapter
11 plan sets forth and governs the treatment and rights to be afforded to creditors with respect to
their claims against one or more debtors. According to section 1125 of the Bankruptcy Code,
acceptances of a chapter 11 plan may be solicited by the proponent of a plan only after a written
disclosure statement has been provided to each creditor or equity holder who is entitled to vote on
the plan.

        The Plan is a plan of liquidation. In general, a chapter 11 plan of liquidation (i) divides
claims into separate classes, (ii) specifies the property that each class is to receive under the plan,
and (iii) contains other provisions necessary to implement the Plan. Under the Bankruptcy Code,
“claims” are classified rather than “creditors” because such entities may hold claims in more than
one class.

         B.       Provisions Governing Order and Method for Distributions Under the Plan

        The Plan divides Claims against the Debtors and Interests into five (5) “Classes” according
to the underlying basis and subsequent treatment for each. Claims within the same Class are
treated identically and each Class in the Plan is treated differently.



3
 When destroying Tax Records, the Trustee (or successor to the Trustee) will ensure that such Tax Records are
shredded, such that no personally identifiable information contained in the documents is revealed to any third party.

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        Administrative Expense Claims, the Priority Tax Claims and Professional Fee Claims, are
not classified but are treated in the manner set forth in Article 3 of the Plan and summarized below.

          C.      Classes of Claims

       The following classes of Claims are designated pursuant to and in accordance with section
1123(a)(1) of the Bankruptcy Code, which Classes shall be mutually exclusive:

     Class             Claim            Treatment            Status          Voting Rights           Estimated
                                                                                                   Distribution
    Class 1    Secured Claims          Plan § 4.1       Unimpaired          Presumed to            See
                                                                            Accept                 treatment of
                                                                                                   Class 1
    Class 2    Priority Non-Tax        Plan § 4.2       Unimpaired          Presumed to            100%
               Claims                                                       Accept
    Class 3    Marshall Inc.           Plan § 4.3       Unimpaired          Presumed to            100%
               Claims                                                       Accept
    Class 4    Marshall General        Plan § 4.4       Impaired            Entitled to Vote       Between 8%
               Unsecured Claims                                                                    and 10% 4

    Class 5    Marshall Inc.           Plan § 4.5       Unimpaired          Presumed to            See
               Intercompany                                                 Accept                 treatment of
               Interests                                                                           Class 5

                  1.      Administrative Expense Claims

        Administrative Expense Claims are not classified consistent with section 1123(a)(1) of the
Bankruptcy Code. All Allowed Administrative Expense Claims, other than Professional Fee
Claims, shall be paid by the Plan Administrator from the Marshall Post-Confirmation Estate Fund
or Marshall Inc. Post-Confirmation Estate Fund, as applicable, in full, in Cash, in such amounts as
are incurred in the ordinary course of the liquidation of the Debtors, or in such amounts as may be
Allowed by the Bankruptcy Court (a) as soon as practicable following the later of the Effective
Date or the date upon which the Court enters a Final Order allowing any such Administrative
Expense Claim, or (b) upon such other terms as may exist in accordance with the ordinary course
of the Debtors’ liquidation, or (c) as may be agreed upon between the holder of any such
Administrative Expense Claim and the Plan Administrator. In the event there exists any Disputed
Administrative Expense Claims on the Effective Date, the Plan Administrator shall at all times
hold and maintain Cash in an amount equal to that portion of a Disputed Claims Reserve
attributable to all Disputed Administrative Expense Claims. Administrative Expense Claims are
not Impaired by the Plan.

4
   This estimated distribution presumes that: (i) no recovery is made on Marshall’s life insurance policies with
combined death benefits of $18 million; and (ii) nothing is realized on the Bank Litigation Claims. If, Marshall dies
prior to expiration of one or more of his life insurance policies and/or the Bank Litigation Claims are determined to
be viable and result in a recovery, this estimated distribution could be enhanced significantly.

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        As of the filing of this Disclosure Statement, no parties have filed or otherwise asserted
Administrative Expense Claims. In addition, the Plan Proponents are not aware of any material
unpaid Administrative Expense Claims. 5 It is also important to note that no bar date for
Administrative Expense Claims has yet been established in these Chapter 11 Cases. Moreover,
though the Plan Proponents believe they have timely paid the necessary and beneficial costs of
administering these Chapter 11 Cases, it is possible that Administrative Expense Claims may be
asserted in the future. Pursuant to Section 5.10 of the Plan, the bar date for Administrative Expense
Claims will be thirty (30) days after mailing of notice that the Effective Date (as defined in the
Plan) has occurred.

                  2.        Priority Tax Claims

        Priority Tax Claims are not classified consistent with section 1123(a)(1) of the Bankruptcy
Code. On the Effective Date, or as soon thereafter as is reasonably practical, in full and final
satisfaction of such Allowed Priority Tax Claim, each holder of an Allowed Priority Tax Claim
shall receive (a) an amount in Cash equal to the Allowed amount of such Priority Tax Claim to be
paid from the Marshall Post-Confirmation Estate Fund or Marshall Inc. Post-Confirmation Estate
Fund, as applicable, or (b) such other treatment as to which the Plan Administrator and the holder
of such Allowed Priority Tax Claim shall have agreed upon in writing. In the event any Disputed
Priority Tax Claims exist on the Effective Date, the Plan Administrator shall hold and maintain
Cash in an amount equal to that portion of a Disputed Claims Reserve attributable to all Disputed
Priority Tax Claims until such dispute is resolved consensually or by order of the Bankruptcy
Court. Priority Tax Claims are not Impaired by the Plan.

        For the avoidance of doubt, the treatment of Priority Tax Claims that are secured by tax
liens or warrants shall be treated consistent with section 1129(a)(9)(D) of the Bankruptcy Code.

       As of the filing of this Disclosure Statement, the Department of Treasury - Internal
Revenue Service (the “IRS”) filed a Priority Tax Claim against Mashall in the initial amount of
approximately $35,000, which was subsequently amended by the IRS to zero.

                  3.        Professional Fee Claims

        Professional Fee Claims are not classified consistent with section 1123(a)(1) of the
Bankruptcy Code. The Plan Administrator shall pay all Professional Fee Claims from the Marshall
Post-Confirmation Estate Fund or Marshall Inc. Post-Confirmation Estate Fund, as applicable, in
the amount Allowed by the Bankruptcy Court as soon as practicable after entry of a Final Order
awarding such compensation and reimbursement of expenses pursuant to proper application in
accordance with Section 5.11 of the Plan. In the event any Disputed Professional Fee Claims exist
on the Effective Date, the Plan Administrator shall hold and maintain Cash in an amount equal to
that portion of a Disputed Claims Reserve attributable to all Disputed Professional Fee Claims
until such dispute is resolved consensually or by order of the Bankruptcy Court. Professional Fee
Claims are not Impaired by the Plan.

5
  The Marshall Bankruptcy Estate will be liable to the taxing authorities for any tax liability that results as a result of
the sale of the Properties and receipt of the Assets of the Marshall Inc. Bankruptcy Estate.

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        The outstanding and unpaid Professional Fee Claims as of January 31, 2024 are set forth
in the below chart. Additional Professional Fee Claims will accrue until the Effective Date of the
Plan.

Marshall Inc.:

                        Firm                             Accrued and Accrued and                 Total Accrued
                                                         Unpaid Fees   Unpaid                     and Unpaid
                                                                      Expenses                     Fees and
                                                                                                   Expenses
    Klestadt Winters Jureller Southard &                    $22,105.50           $1,856.66           $23,962.16
    Stevens, LLP

    Counsel to Marshall Inc.

Marshall: 6

                        Firm                             Accrued and          Accrued            Total Accrued
                                                         Unpaid Fees         and Unpaid           and Unpaid
                                                                              Expenses             Fees and
                                                                                                   Expenses
    Fred Stevens, as Chapter 11 Trustee of the            $232,432.50            $4,835.98         $237,268.48 7
    Estate of M. Burton Marshall a/k/a Burt
    Marshall a/k/a Miles Burton Marshall


    Klestadt Winters Jureller Southard &                  $215,794.50            $1,772.84            $217,567.34
    Stevens, LLP

    Counsel to the Trustee
    RK Consultants, LLC                                   $425,479.75          $17,177.29             $442,657.04

    Financial Advisor to the Trustee




6
  Not included in this chart is Keen-Summit, the Trustee’s real estate broker, and FNT, the Trustee’s title report
preparer. Keen-Summit’s compensation of 3.5% of the gross proceeds realized from the sale of the Properties is based
upon a percentage of the proceeds of any final transaction consummated in connection with the Properties and is due
simultaneously with the closing or other consummation of the Properties. In addition, should the successful buyer of
the Properties be represented by a broker who has registered with Keen, then such broker shall be entitled to a buyer’s
broker fee of 2%. FNT’s compensation and reimbursement of expenses is also to be paid at the closing of the
Properties. FNT is to be paid between $500 to $750 per title report, plus reimbursement of expenses which primarily
include photocopy costs. Keen-Summit and FNT’s compensation and reimbursement remain subject to the filing of
a final fee application by the parties.
7
  This number represents the Trustee’s time value, which is subject to, among other things, the statutory commission
cap under section 326 of the Bankruptcy Code.

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                    Firm                        Accrued and        Accrued        Total Accrued
                                                Unpaid Fees       and Unpaid       and Unpaid
                                                                   Expenses         Fees and
                                                                                    Expenses
 Hancock Estabrook, LLP                               $5,838.00          $0.00          $5,838.00

 Special Real Estate Transactional Counsel
 to the Trustee
 Stretto, Inc.                                           $0.00           $0.00               $0.00

 Administrative Advisor to the Trustee
 Bond, Schoeneck & King, PLLC                     $566,655.00        $7,035.54        $573,690.54

 Counsel to the Official Committee
 HKA Global, LLC                                $1,438,380.90      $63,030.15       $1,501,411.05

 Financial Advisor to the Official
 Committee
 Barclay Damon LLP                                $296,816.50        $3,477.13        $300,293.63

 Counsel to Marshall
 Algon Capital, LLC d/b/a Algon Group           $1,082,753.71      $69,419.92       $1,152,173.63

 Financial Advisor to Marshall
 TOTAL:                                         $4,264,150.85     $166,748.85       $4,430,899.70

               4.      Class 1 (Secured Claims)

        On the Effective Date, or as soon thereafter as is reasonably practical, each holder of an
Allowed Secured Claim that has not already been satisfied at or in connection with the closing on
the sale of its collateral, shall receive either (i) delivery of collateral securing such Allowed
Secured Claim; (ii) the net proceeds, if any, of the sale or other disposition of the Assets on which
such Holder has a Lien; or (iii) such other, less favorable treatment as may be agreed to in writing
by the holder of such Allowed Secured Claim and the Plan Administrator. Any Deficiency Claim
which may arise on account of the lack of Collateral or otherwise resulting from the aforesaid
treatment shall be treated as a Class 3 Marshall Inc. Claim or Class 4 Marshall General Unsecured
Claim, as applicable.

       Class 1 is unimpaired and Holders of Class 1 Secured Claims are presumed to accept the
foregoing treatment and therefore are not entitled to vote on the Plan.

       There is one (1) scheduled Class 1 Claim against Marhsall Inc. in the amount of
approximately $5,000. The Plan Proponents believe there will be no amounts treated as Class 3
Marshall Inc. Claims consistent with section 506(a)(1) of the Bankruptcy Code.



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        As of the Marshall Bar Date, approximately thirty (30) parties have filed or otherwise hold
scheduled Class 1 Claims against Marshall in the aggregate amount of approximately $3.7 million.
The Plan Proponents estimate that after reconciliation of such claims is complete and either
negotiations or objections are concluded, remaining Class 1 Secured Claims against Marshall will
total approximately $2.1 million and there will be no amounts treated as Class 4 Marshall General
Unsecured Claims consistent with section 506(a)(1) of the Bankruptcy Code.

               5.     Class 2 (Priority Non-Tax Claims)

       On the Effective Date, or as soon thereafter as is reasonably practical, each holder of an
Allowed Priority Non-Tax Claim shall receive (a) an amount in Cash equal to the Allowed amount
of such Priority Non-Tax Claim, or (b) such other treatment as to which the Plan Administrator
and the holder of such Allowed Priority Non-Tax Claim shall have agreed upon in writing.

       Distributions to holders of Allowed Class 2 Claims shall be made by the Plan Administrator
from the Marshall Post-Confirmation Estate Fund until all Allowed Class 2 Claims are paid in full.

       Class 2 is Unimpaired and Holders of Priority Non-Tax Claims are presumed to accept the
foregoing treatment and therefore are not entitled to vote on the Plan.

       As of the date of this Disclosure Statement, approximately five (5) parties have filed or
otherwise asserted Class 2 Claims in the aggregate amount of approximately $30,000.

      As set forth hereinabove, the Schedules filed by Marshall listed no former employees being
owed priority claims.

       The Plan Proponents estimate that after reconciliation of such claims is complete and either
negotiations or objections are concluded, the aggregate amount of Allowed Class 2 Claims will
not exceed approximately $31,000.

               6.     Class 3 (Marshall Inc. Claims)

       Class 3 consists of Claims in the Marshall Inc. Bankruptcy Case that are asserted, filed or
scheduled against Marshall Inc. Each Holder of an Allowed Marshall Inc. Claim shall receive (a)
an amount in Cash equal to the Allowed amount of such Claim, or (b) such other treatment as to
which the Plan Administrator and the holder of such Allowed Claim shall have agreed upon in
writing.

         Distributions to holders of Allowed Class 3 Claims shall be made by the Plan Administrator
from the Marshall Inc. Post-Confirmation Estate Fund until all Allowed Class 3 Claims are paid
in full.

       Class 3 is Unimpaired and Holders of Marshall Inc. Claims are presumed to accept the
foregoing treatment and therefore are not entitled to vote on the Plan.




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       As of the Marshall Inc. Bar Date, three (3) parties have filed or otherwise hold scheduled
Class 3 Claims in the aggregate amount of approximately $10,000.

                  7.       Class 4 (Marshall General Unsecured Claims)

        Class 4 consists of General Unsecured Claims in the Marshall Bankruptcy Case that are
asserted, filed or scheduled against Marshall. Each Holder of an Allowed Marshall General
Unsecured Claim shall receive their pro rata share from the remaining portion of the Marshall
Post-Confirmation Estate Fund, after satisfaction in full of senior Claims. The pro rata share of
each Holder’s Allowed Class 4 Claim shall be determined by a formula, the numerator of which
is the then unsatisfied amount of such Holders’ Class 4 Allowed Claim and the denominator of
which is the aggregate unsatisfied amount of the remaining Allowed Class 4 Claims.

       Distributions to holders of Allowed Class 4 Claims shall be made by the Plan Administrator
from the Marshall Post-Confirmation Estate Fund until all Allowed Class 4 Claims are paid in full.

        Class 4 is Impaired and Holders of General Unsecured Claims are therefore entitled to vote
on the Plan.

        Holders of Allowed Class 4 Claims that are holders of notes and investors in the so-called
“Eight Percent Fund” may hold Bank Litigation Claims. Those that choose to timely assign their
Bank Litigation Claim to the Plan Administrator for prosecution shall receive, after payment to
Bank Litigation Counsel of its fees and expenses, their pro rata share of the Bank Litigation Fund. 8
The pro rata share of each Holder’s Bank Litigation Claim shall be determined by a formula, the
numerator of which is the then unsatisfied amount of such Holders’ Bank Litigation Claim and the
denominator of which is the aggregate unsatisfied amount of the remaining Allowed Litigation
Claims. Holders of Allowed Class 4 Claims that choose not to assign their Bank Litigation Claim
to the Plan Administrator shall be permitted to pursue such claim individually but shall have no
right to participate in the Bank Litigation Fund, if any.

         As of the filing of this Disclosure Statement, approximately 750 parties have filed claims

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  All Assignments with respect to any Bank Litigation Claims by Holders of Class 4 Claims (General Unsecured Claims
against Marshall) must be completed in full, signed, and received by the Trustee if such Creditor wants to participate in
any Bank Litigation Fund. Completed and signed Assignments of Bank Litigation Claims should be returned by first class
mail to the Trustee by no later than 5:00 p.m. (EST) on May 31, 2024.

                  By First Class Mail or Overnight/Hand Delivery:

                  Fred Stevens, Chapter 11 Trustee
                  c/o Klestadt Winters Jureller Southard & Stevens, LLP
                  200 West 41st Street, 17th Floor
                  New York, NY 10036

Additionally, scanned original copies of the completed and signed Assignments of Bank Litigation Claims can be sent
to:

                  Fred Stevens at fstevens@klestadt.com; and
                  Lauren C. Kiss at lkiss@klestadt.com

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in the aggregate amount of approximately $116 million and Marshall listed approximately $90
million in Class 4 Claims (including duplication). For purposes of this disclosure statement, the
Plan Proponents are assuming that Class 4 Claims will total approximately $90 million following
the Plan Administrator’s reconciliation process.

               8.      Class 5 (Marshall Inc. Intercompany Interests)

        Class 5 consists of the Interests of the Marshall Bankruptcy Estate in 100% of the equity
in Marshall Inc. and the Marshall Inc. Bankruptcy Estate. The Marshall Post-Confirmation Estate
Fund shall receive all Assets of the Marshall Inc. Bankruptcy Estate after the passage of the
Marshall Inc. Governmental Bar Date and the satisfaction in full of senior Claims, or the
establishment of an Administrative Reserve and Disputed Claim Reserve.

        Distributions to holders of Allowed Class 5 Interests shall be made by the Plan
Administrator from the Marshall Inc. Post-Confirmation Estate Fund until the Marshall Inc. Post-
Confirmation Fund is fully administered, and then shall be, at the option of the Plan Administrator,
reinstated, set off, settled, distributed, contributed, cancelled and released.

        Holders of Class 5 Interests are conclusively deemed to have accepted the Plan pursuant to
section 1126(f). Holders of Class 5 Interests are not entitled to vote to accept or reject the Plan.

V.     MEANS OF IMPLEMENTING THE PLAN

       A.      No Substantive Consolidation

        The Plan is being proposed as a joint plan of liquidation of the Debtors for administrative
purposes only and constitutes a separate chapter 11 plan of liquidation for each Debtor. The Plan
is not premised upon the substantive consolidation of the Debtors with respect to the Classes set
forth in the Plan.

       B.      Plan Funding

        The Plan shall be funded by a combination of the proceeds of sale of the Debtors’ Assets,
and proceeds from liquidation of remaining Assets, including the sale of the Properties, and as set
forth herein. As a condition to effectiveness of this Plan, the Trustee must close on the Sale of
substantially all of the Properties. The Sale of the Properties is intended to be exempt from
otherwise applicable transfer taxes in accordance with section 1146(a) of the Bankruptcy Code.

        The Plan Administrator shall segregate the Administrative Reserve based upon the Wind-
Down Budget. With the Administrative Reserve established, the Plan Administrator shall utilize
the Marshall Post-Confirmation Estate Fund for purposes of making distributions to holders of
Allowed Claims in Classes 1, 2 and 4 after reserving for Disputed Claims. The Plan Administrator
shall utilize the Marshall Inc. Post-Confirmation Estate Fund for purposes of making distributions
to holders of Allowed Claims in Class 3 and Allowed Interests in Class 5. The Plan Administrator
shall utilize the Bank Litigation Fund for purposes of making distributions to holders of Bank
Litigation Claims in Class 4.

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        Upon or as a condition of the Effective Date, the Trustee shall disburse to the Marshall
Post-Confirmation Estate Fund or the Marshall Inc. Post-Confirmation Estate Fund all Assets of
the respective Debtors’ Bankruptcy Estates. Even if the Plan Administrator utilizes the same bank
accounts as the Trustee, all Cash held in the Trustee’s accounts on the Effective Date shall be
deemed to have been disbursed to the Marshall Post-Confirmation Estate Fund or the Marshall
Inc. Post-Confirmation Estate Fund as the case may be.

       C.      Appointment of Plan Administrator

       (a)     Appointment of Plan Administrator. The Confirmation Order shall provide for the
appointment of the Plan Administrator. The Plan Administrator shall be deemed the Estates’
exclusive representative in accordance with section 1123 of the Bankruptcy Code and shall have
all powers, authority and responsibilities specified under sections 704 and 1106 of the Bankruptcy
Code.

         (b)    Bond. The Plan Administrator shall serve without a bond. The Oversight
Committee, at its option, may require the Plan Administrator to obtain a bond, provided that there
is sufficient Cash available in the Estates to purchase a bond.

      (c)     Governance. The Plan Administrator shall be governed by the Plan and the Plan
Administrator Agreement.

        (d)     Succession Matters. In the event the Plan Administrator dies, is terminated, or
resigns for any reason, the Oversight Committee shall designate a successor. If the Oversight
Committee is unable to designate such a successor, the Bankruptcy Court may appoint a successor
Plan Administrator from any candidate proposed by a party in interest. Such successor Plan
Administrator shall be deemed to succeed the Plan Administrator in all respects, without need for
further order of the Bankruptcy Court. In the event of resignation or removal of the Plan
Administrator, the departing Plan Administrator shall promptly (a) execute and deliver such
documents, instruments and other writings as reasonably requested by the successor Plan
Administrator or as ordered by the Bankruptcy Court; (b) turn over to the successor Plan
Administrator all property of the Estates in his or her possession, custody and control, including,
but not limited to all funds held in bank accounts, and all files, books and records and other
documents and information related to the Debtors; and (c) otherwise assist and cooperate in
affecting the assumption of his or her obligations and functions by the successor Plan
Administrator. The successor Plan Administrator may, in his or her discretion, retain such
professionals as he or she deems necessary, including the Professionals of the departing Plan
Administrator. If the Plan Administrator is replaced, the Professionals retained by the Plan
Administrator shall be entitled to payment of their reasonable, undisputed fees and expenses from
the Estates through the date of the Plan Administrator’s replacement.

      (e)     Funding of Plan Administrator’s Activities. The Plan Proponents, the Plan
Administrator, and the Official Committee shall agree to a reasonable wind-down budget (the
“Wind-Down Budget”) on or before the Effective Date. The duties and obligations of the Plan
Administrator hereunder are subject to the Wind-Down Budget.



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         (f)     Indemnification. The Plan Administrator and his or her designees, employees or
professionals or any duly designated agent or representative of the Plan Administrator shall not be
liable for any act or omission taken or omitted to be taken in their respective capacities other than
for acts or omissions resulting from willful misconduct, gross negligence, or fraud as determined
by Final Order of the Bankruptcy Court. The Plan Administrator may, in connection with the
performance of his or her functions, and in his or her sole and absolute discretion, consult with
attorneys, accountants, financial advisors and agents, and shall not be liable for any act taken,
omitted to be taken, or suffered to be done in good faith reliance on the advice or opinions rendered
by such attorneys, accountants, financial advisors and agents, or any Final Order of the Bankruptcy
Court. Notwithstanding such authority, the Plan Administrator shall not be under any obligation
to consult with attorneys, accountants, financial advisors or agents, and his or her determination
not to do so shall not result in the imposition of liability, unless such determination is based on
willful misconduct, gross negligence or fraud as determined by Final Order of the Bankruptcy
Court. The Plan Proponents shall indemnify and hold harmless the Plan Administrator and his or
her designees and Professionals, and all duly designated agents and representatives (in their
capacity as such) from and against all liabilities, losses, damages, claims, costs and expenses,
including, but not limited to attorneys’ fees and costs arising out of or due to such actions or
omissions, or consequences of their actions or omissions with respect or related to the performance
of their duties or the implementation or administration of this Plan; provided however, that no such
indemnification will be made to such Persons for such actions or omissions as a result of willful
misconduct, gross negligence or fraud.

        D.      Powers and Duties of Plan Administrator

                 (a)     Powers and Duties. On the Effective Date, the Plan Administrator shall
succeed to all of the rights of the Plan Proponents and the Estates as otherwise provided herein,
with all powers necessary to protect, conserve, and liquidate all Assets, including, without
limitation, control over (including the right to waive) all attorney-client privileges, work-product
privileges, accountant-client privileges and any other evidentiary privileges relating to the Assets
that, prior to the Effective Date, belonged to the Plan Proponents pursuant to applicable law. The
powers and duties of the Plan Administrator shall include, without further order of the Court,
except where expressly stated otherwise, the rights:

      i.     to open and close bank accounts for the Debtors and their Estates as the sole signatory,
             invest Cash in accordance with section 345 of the Bankruptcy Code, and withdraw and
             make distributions of Cash to Holders of Allowed Claims and pay taxes and other
             obligations in connection with the wind-down of the Estates in accordance with the
             Plan;

     ii.     to engage attorneys, consultants, agents, employees and all professional persons, to
             assist the Plan Administrator with respect to the Plan Administrator’s responsibilities,
             including professional persons that may have represented either the Trustee, Debtors
             or the Official Committee prior to confirmation of the Plan;

    iii.     to execute and deliver all documents, and take all actions, necessary to consummate the
             Plan and wind-down the Estates;

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  iv.    to act on behalf of the Debtors and their Estates in all adversary proceedings and
         contested matters (including, without limitation, any Avoidance Actions and Causes of
         Action), then pending or that can be commenced in the Court and in all actions and
         proceedings pending or commenced elsewhere, and to settle, retain, enforce, or dispute
         any adversary proceedings or contested matters (including, without limitation, any
         Causes of Action) and otherwise pursue actions involving Assets that could arise or be
         asserted at any time under the Bankruptcy Code or otherwise, unless otherwise
         specifically waived or relinquished in the Plan;

   v.    to dispose of, and deliver title to or otherwise realize the value of, all the remaining
         Assets;

  vi.    to negotiate and accept assignments of claims, demands, and causes of action for
         the benefit of the Holders of Bank Litigation Claims, upon determining in the Plan
         Administrator’s discretion that such claims, demands, and causes of action assert
         colorable and meritorious claims, and to recognize the claims of the assignor for
         purposes of participating in and receiving a distribution as a Holder of a Bank
         Litigation Claim in Class 4;

 vii.    to coordinate the storage, maintenance and disposal of the Records as he or she
         determines in his or her reasonable discretion in compliance with any applicable state
         and federal rules;

 viii.   to dissolve Marshall Inc. in accordance with Sections 4.5 and 5.13 of the Plan;

  ix.    to oversee compliance with the Debtors’ accounting, finance and reporting obligations;

   x.    to prepare United States Trustee quarterly reports and financial statements, and such
         other reports and financial statements as may be necessary or helpful to the Plan
         Administrator to carry out his or her duties, and to manage the calculation and
         disbursement of U.S. Trustee fees;

  xi.    to oversee the filing of final tax returns, audits and other corporate dissolution
         documents if required;

 xii.    upon consultation with the Oversight Committee, to object to Claims against the
         Debtors;

 xiii.   upon consultation with the Oversight Committee, to compromise and settle Claims by
         and against the Debtors;

 xiv.    to perform any additional corporate actions as necessary to carry out the wind-down,
         liquidation and ultimate dissolution of the Debtors;

  xv.    to implement and/or enforce all provisions of the Plan;



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   xvi.        to implement and/or enforce all agreements entered into prior to the Effective Date;

   xvii.       abandon any Assets without the need for approval of the Court, and upon such
               abandonment, such Assets shall cease to be Assets of the Estates; and

  xviii.       to use such other powers as may be vested in or assumed by the Plan Administrator
               pursuant to the Plan or Order of the Bankruptcy Court or as may be necessary and
               proper to carry out the provisions of the Plan.

        The duties and obligations of the Plan Administrator under the Plan are subject to the extent
of available funds in the Administrative Reserve and the Wind-Down Budget.

          E.      Establishment of Oversight Committee

       (a) Appointment of Oversight Committee. On or after the Effective Date, the Oversight
Committee shall be appointed and shall consist of those members willing to serve, as selected by
the Official Committee. The Oversight Committee shall not exceed seven (7) members. The
Oversight Committee shall have the authority specified in the Plan and Plan Administrator
Agreement. Any actions taken by the Oversight Committee shall be by majority vote. The Plan
Administrator shall consult with and provide information to the Oversight Committee with respect
to any material action to be taken or not to be taken by the Plan Administrator as set forth in the
Plan and the Plan Administrator Agreement.

        (b) Reimbursement of Costs and Expenses. Except for the reimbursement of reasonable,
actual costs and expenses incurred in connection with their duties as members of the Oversight
Committee, the members of the Oversight Committee shall serve without compensation.
Reasonable expenses incurred by members of the Oversight Committee may be paid by the Plan
Administrator upon presentation of proper documentation without the need for Court approval.

        (c) Liability of Members of the Oversight Committee. Subject to any applicable law, the
members of the Oversight Committee shall not be liable for any act done or omitted by any member
in such capacity, while acting in good faith and in the exercise of business judgment. Members of
the Oversight Committee shall not be liable in any event except for gross negligence or willful
misconduct in the performance of their duties hereunder.

        (d) Indemnification. Except as otherwise set forth in this Plan and to the extent permitted
by applicable law, the members of the Oversight Committee shall not be liable for any act or
omission taken or omitted to be taken in their respective capacities other than for acts or omissions
resulting from willful misconduct, gross negligence, or fraud as determined by Final Order of the
Bankruptcy Court. The Estates shall indemnify and hold harmless the members of the Oversight
Committee from and against all liabilities, losses, damages, claims, costs and expenses, including,
but not limited to attorneys’ fees and costs arising out of or due to such actions or omissions, or
consequences of their actions or omissions with respect or related to the performance of their
duties; provided however, that no such indemnification will be made to such Persons for such
actions or omissions as a result of willful misconduct, gross negligence or fraud.



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       F.      Establishment of Reserves and Funds

        (a) Administrative Reserve. On or prior to the Effective Date, the Administrative Reserve
shall be established by the Trustee. If the Plan Administrator determines that additional funding
of the Administrative Reserve is required, from time to time, following the Effective Date, such
funding shall be made from available Cash, if any. Available Cash may be sourced from the
Disputed Claims Reserve, the Marshall Post-Confirmation Estate Fund, or any other source
available to the Plan Administrator. Except as otherwise provided for herein, the Administrative
Reserve shall be used to pay the Post-Confirmation Expenses, including, without limitation, costs
and expenses of professionals or other advisors retained by the Plan Administrator.

        (b) Disputed Claim Reserves. As soon as practicable following the Effective Date, the
Disputed Claim Reserves shall be established by the Plan Administrator if and as required;
provided, however, that the Plan Administrator shall have no obligation to fund the Disputed Claim
Reserves until, at the latest, immediately prior to the making of a Distribution to holders of
Allowed Claims. The Disputed Claim Reserves shall be funded from available Cash in an amount
equal to the amount holders of Disputed Claims would have otherwise been entitled but for the
dispute. The assets in the Disputed Claim Reserves shall be held separately from other assets held
by the Plan Administrator subject to an allocable share of all expenses and obligations, on account
of Disputed Claims. Funds shall be removed from the Disputed Claims Reserves as the Disputed
Claims are resolved, which funds shall be distributed as provided in Section 9.20 of the Plan.
Notwithstanding any other provision of the Plan to the contrary, subject to definitive guidance
from the Internal Revenue Service or a court of competent jurisdiction to the contrary, the Plan
Administrator may treat any assets allocable to, or retained on account of, the Disputed Claims
Reserves as held by one or more discrete entities holding Disputed Claims for federal, and
applicable state, local or other, income tax purposes, and may determine that such entity or entities
shall constitute “disputed ownership funds” under, and may make the election permitted by,
Treasury Regulation 1.468B-9, or any successor provision thereto.

       G.      Preservation of Causes of Action

        Except as otherwise provided in this Plan or in any contract, instrument, release or
agreement entered into in connection with this Plan, in accordance with section 1123(b) of the
Bankruptcy Code, all Claims or Causes of Action that the Debtors, the Trustee, the Official
Committee, or the Estates may have against any person or entity are preserved, including without
limitation any and all Causes of Action under sections 502, 510, 522(f), 522(h), 542, 543, 544,
545, 547, 548, 549, 550, 551, and 553 of the Bankruptcy Code.

       H.      General Disposition of Assets

       Pursuant to section 1123(a)(5) of the Bankruptcy Code and subject to the terms of this Plan,
as soon as is reasonably practicable following the Effective Date, the Plan Administrator shall sell
or otherwise dispose of, and liquidate to or otherwise convert to Cash, any non-Cash Assets in
such manner as the Plan Administrator shall determine is in the best interests of the Estates and
holders of Allowed Claims. The proposed sale or other disposition of any remaining Assets by
the Plan Administrator, regardless of the value of those Assets, shall be done in the manner

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consistent with the procedures established by the Bankruptcy Court’s order, dated November 14,
2023 at Docket No. 284, except that the notice required to be given to the Official Committee shall
instead be given by the Plan Administrator to the members of the Oversight Committee by email.
No other or further order of the Bankruptcy Court shall be required for the Plan Administrator to
effectuate a sale of any Assets, free and clear of any liens, claims, or encumbrances, provided that
no timely objection is filed to any proposed sale or other disposition of Assets.

       I.      Exemption from Certain Transfer Taxes

        To the maximum extent provided by section 1146(a) of the Bankruptcy Code, any post-
Confirmation sale or transfer of any of the Assets, including, but not limited to, the Sale of the
Properties, or any sale or transfer of, from or by any Debtor, pursuant to, in contemplation of, or
in connection with the Plan or pursuant to the making, delivery, or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds,
bills of sale, assignments, or other instruments of transfer executed in connection with any
transaction arising out of, contemplated by, or in any way related to the Plan, shall not be subject
to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage
tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording
fee, or other similar tax or governmental assessment, in each case to the extent permitted by
applicable bankruptcy law, and the appropriate state or local government officials or agents shall
forego collection of any such tax or governmental assessment and accept for filing and recordation
any of the foregoing instruments or other documents without the payment of any such tax or
governmental assessment.

       J.      Administrative Expense Claims Bar Date

       With the exception of Professional Fee Claims, persons asserting an Administrative
Expense Claim must file a request for payment of such Administrative Expense Claim on or before
5:00 p.m. prevailing Eastern Time on the date that is 30 days after notice of the Effective Date has
been mailed (the “Administrative Expense Claims Bar Date”). No payment or Distributions will
be made on account of any Administrative Expense Claim until such Claim becomes an Allowed
Claim. Any person asserting an Administrative Expense Claim that fails to file and serve an
Administrative Expense Claim on or before the Administrative Expense Claims Bar Date shall be
forever barred from asserting any such right to payment against the Debtors, their Estates, the
Trustee, the Official Committee, the Plan Administrator, or the Oversight Committee.

       K.      Deadline for Filing Applications For Payment of Professional Fee Claims

        All parties seeking payment of Professional Fee Claims arising prior to the Effective Date
must file with the Bankruptcy Court a final application and/or an application for payment of
reasonable fees and expenses on or before the date that is 30 days after notice of the Effective Date
has been mailed (the “Fee Application Deadline”). Any Professional failing to file and serve such
application on or before the Fee Application Deadline shall be forever barred from asserting any
such right to payment against the Debtors, their Estates, the Trustee, the Official Committee, the
Plan Administrator, or the Oversight Committee.



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       L.      Execution of Documents to Effectuate Plan

        From and after the Effective Date, the Plan Administrator shall have the exclusive power
and authority to execute any instrument or document to effectuate the provisions of the Plan. Entry
of the Confirmation Order shall authorize the Plan Administrator to take, or cause to be taken, all
actions necessary or appropriate to consummate and implement the provisions of the Plan. All
such actions shall be deemed to have occurred and shall be in effect pursuant to applicable non-
bankruptcy law and the Bankruptcy Code, without any requirement of further action.

       M.      Dissolution of Marshall Inc.

        Following the Effective Date, the Debtors, through the activities of the Plan Administrator,
shall continue in existence for the purposes of, among other things, completing the liquidation of
Assets, winding up affairs and filing appropriate tax returns. Upon the entry of an order closing
the cases, Marshall Inc. shall be deemed dissolved for all purposes. No other actions or filings or
payments shall be required in furtherance of such dissolution.

       N.      Post-Confirmation Reports and Fees

       Following the Effective Date and until the Chapter 11 Cases are closed, not less than once
every ninety (90) days, the Plan Administrator shall file all post-Effective Date reports required
during such periods and shall pay from the Administrative Reserve all post-Effective Date fees
charged or assessed against the Estates under 28 U.S.C. §1930 during such periods together with
applicable interest pursuant to 31 U.S.C. § 3717.

       O.      Official Committee

        On the Effective Date, the Official Committee shall be deemed to be dissolved and the
members of the Official Committee shall be released and discharged from all duties and
obligations arising from or related to the Chapter 11 Cases, provided, however, that the Official
Committee shall remain in existence for the purpose of reviewing and approving fee applications
of Professionals.

       P.      Insurance Preservation

       Nothing in this Plan shall diminish or impair the enforceability of any Insurance Policies
that may cover Claims against the Debtors or any other Person.

       Q.      Claims Administration Responsibility

                1.     Reservation of Rights. Unless a Claim is specifically Allowed prior to or
after the Effective Date, prior to the Effective Date, the Plan Proponents, and after the Effective
Date, the Plan Administrator, reserve any and all objections to any and all Claims and motions or
requests for the payment of Claims, whether administrative expense, secured or unsecured,
including without limitation any and all objections to the validity or amount of any and all alleged
Administrative Expense Claims, Priority Tax Claims, or Priority Non-Tax Claims, liens and

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security interests, whether under the Bankruptcy Code, other applicable law or contract. The
failure to object to any Claim prior to the Effective Date shall be without prejudice to the Plan
Administrator’s rights to contest or otherwise defend against such Claim in the Bankruptcy Court
when and if such Claim is sought to be enforced by the holder of the Claim.

                2.     Objections to Claims. Prior to the Effective Date, the Plan Proponents shall
be responsible for pursuing any objection to the allowance of any Claim. From and after the
Effective Date, the Plan Administrator may dispute, object to, compromise or otherwise resolve
all Claims, in accordance with Sections 5.3 and 5.4 of the Plan. Unless otherwise provided in the
Plan or ordered by the Bankruptcy Court, all objections to Claims shall be filed and served no later
than one hundred eighty (180) days after the Effective Date, provided that the Plan Administrator
may request (and the Bankruptcy Court may grant) one or more extensions of time by filing a
motion with the Bankruptcy Court.

               3.      Filing Objections. An objection to a Claim shall be deemed properly served
on the claimant if the Plan Proponents or Plan Administrator, as applicable, effect service of any
such objection in accordance with Rule 3007 of the Bankruptcy Rules by mailing or otherwise
delivering the objection and a notice of hearing thereon to the claimant at the address set forth on
such claimant’s Proof of Claim at least thirty (30) days prior to the hearing thereon. The Plan
Proponents or the Plan Administrator may also effectuate service of an objection to a claim: (i) in
accordance with Federal Rule of Civil Procedure 4, as modified and made applicable by
Bankruptcy Rule 7004; (ii) to the extent counsel for a claimant is unknown, by first class mail,
postage prepaid, to the signatory on the Proof of Claim or interest or other representative identified
on the Proof of Claim or interest or any attachment thereto or; (iii) by first class mail, postage
prepaid, on counsel that has appeared on the behalf of the claimant in the Chapter 11 Cases.

               4.      Determination of Claims. Except as otherwise agreed by the Plan
Proponents or Plan Administrator, any Claim as to which a Proof of Claim or motion or request
for payment was timely filed in the Chapter 11 Cases may be determined and liquidated after the
Effective Date pursuant to (i) an order of the Bankruptcy Court (which order has not been stayed,
reversed or amended and as to which determination or any revision, modification or amendment
thereof, and the time to appeal or seek review or rehearing thereof, has expired, and as to which
no appeal or petition for review or rehearing was filed or, if filed, remains pending), or (ii)
applicable non-bankruptcy law. Any Claim determined to be an Allowed Claim after the Effective
Date pursuant to this section shall be treated as an Allowed Claim in accordance with the Plan.

       R.      Treatment of Claims without Further Order of the Court.

               1.       Certain Scheduled Claims. As of the Effective Date, any Scheduled Claim
designated as disputed, contingent or unliquidated in amount, and for which a Proof of Claim has
not been filed by the Creditor, shall be deemed Disallowed and expunged. All Scheduled Claims
that correspond to a Proof of Claim filed by a particular Creditor shall be deemed to have been
superseded by such later filed Proof of Claim and the Scheduled Claims, regardless of priority,
shall be expunged from the claims register; provided however, that such Proofs of Claim shall be
subject to objection in accordance with Section 9.15 of the Plan.



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                2.     Late Filed Claims. Any and all Proofs of Claim filed after the applicable
Claims Bar Date shall be deemed Disallowed as of the Effective Date without any further notice
to or action, order, or approval of the Bankruptcy Court, and Holders of such Claims may not
receive any distributions on account of such Claims, unless on or before the Confirmation of this
Plan, such later Claim has been deemed timely filed by a Final Order.

       S.      Timing of Distributions on Disputed Claims Subsequently Allowed

         In the event that a Disputed Claim is Allowed, in whole or in part, after the Effective Date,
a Distribution shall be made on account of such Allowed Claim on the next Distribution Date that
is at least fifteen (15) business days after such Claim is Allowed.

       T.      Payment or Distribution of Disputed Claim

        Notwithstanding any provision to the contrary herein, no payments or other Distributions
shall be made on account of any Disputed Claim, or any portion thereof, unless and until such
Claim or some portion thereof is allowed by Final Order of the Bankruptcy Court. For the
avoidance of doubt, no portion of any Disputed Claim is entitled to a Distribution. Holders of
Disputed Claims shall be bound, obligated and governed in all respects by this Plan.

       U.      Disputed Claims

        1.      Except to the extent the Court determines that a lesser amount is adequate, the Plan
Administrator shall, on each Distribution Date, deposit in a Disputed Claims Reserve, Cash equal
to the Distributions that would have been made to holders of Disputed Claims if such Claims were
Allowed Claims in their full amounts or such lower amount as to which the holder of such Claim
has agreed in writing or, in the case where any such Claim is unliquidated and/or contingent, the
greater of (i) $1, and (ii) such other amount as is reserved by order of the Bankruptcy Court made
upon motion of the Plan Proponents, Plan Administrator, or the holder of such Claim.

        2.     For purposes of effectuating the provisions of Section 9.17 of the Plan and the
Distributions to holders of Allowed Claims, the Court, upon the request of any holder of a Claim,
on the one hand, or the Plan Administrator, on the other hand, may estimate the amount of Disputed
Claims pursuant to section 502(c) of the Bankruptcy Code, in which event the amounts estimated
shall be deemed to be the aggregate amounts of the Disputed Claims pursuant to section 502(c) of
the Bankruptcy Code for purposes of Distribution under this Plan and for purposes of the Disputed
Claims Reserve.

        3.      When a Disputed Claim becomes an Allowed Claim, there shall be distributed to
the holder of such Allowed Claim, in accordance with the provisions of this Plan (but in no event
later than the next succeeding Distribution Date), Cash in the amount of all Distributions to which
such holder would have been entitled if such holder’s Claim were Allowed on the Effective Date,
to the extent of available Cash to make such Distribution.

        4.     In no event shall any holder of any Disputed Claim be entitled to receive (under
this Plan or otherwise) any Cash payment which is greater than the amount reserved, if any, for

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such Disputed Claim pursuant to Section 9.17 of the Plan. In no event shall the Plan Administrator
have any responsibility or liability for any loss to or of any amount reserved under this Plan unless
such loss is the result of that party’s fraud, willful misconduct, or gross negligence. In no event
may any Creditor whose Disputed Claim is subsequently allowed, pursue or recover or from any
other Creditor in respect of any funds received as Distributions under the Plan.

        5.      To the extent that a Disputed Claim ultimately becomes an Allowed Claim and is
entitled to a Distribution in an amount less than the amount reserved for such Disputed Claim, then
on the next succeeding Distribution Date, the Plan Administrator shall make, in accordance with
the terms of this Plan, a Distribution of the excess amount reserved for such Disputed Claim.

       6.     Any Disputed Claims Reserve shall be treated as a disputed ownership fund, within
the meaning of Treasury Regulation section 1.468B-9, for all purposes associated with taxation.

       V.      Limitations on Funding of Disputed Claims Reserve

       Except as expressly set forth in the Plan, or otherwise agreed to in writing or ordered by
the Court, the Plan Administrator shall have no obligation or duty to fund the Disputed Claims
Reserve.

       W.      Tax Requirements for Income Generated by Disputed Claims Reserve

         The Plan Administrator shall pay, or cause to be paid, out of the funds held in a Disputed
Claims Reserve, any tax imposed by any federal, state, or local taxing authority on the income
generated by the funds or property held in a Disputed Claims Reserve. The Plan Administrator
shall file, or cause to be filed, any tax or information return related to a Disputed Claims Reserve
that is required by any federal, state, or local taxing authority.

VI.    EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      General Provisions

        All executory contracts and unexpired leases of the Debtors shall be deemed rejected as of
the Effective Date, unless a particular executory contract or unexpired lease (i) has previously been
assumed or rejected pursuant to order of the Bankruptcy Court or applicable provisions of the
Bankruptcy Code, or (ii) has expired or otherwise terminated pursuant to its terms.

       B.      Notice of Deemed Rejection/Rejection Bar Date

         Any party to an executory contract or unexpired lease that is rejected in accordance with
Section 6.1 of the Plan shall file a Proof of Claim for damages from such rejection no later than
thirty (30) days after the Effective Date. The failure to timely file a Proof of Claim shall be deemed
a waiver of any Claim in connection with the rejection of such contract or lease.




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         C.     Compensation and Benefit Programs

        To the extent not previously terminated, all employment and severance agreements and
policies, and all employee compensation and benefit plans, policies and programs of the Debtors
applicable generally to their employees, independent contractors or officers in effect on the
Effective Date, including, without limitation, all savings plans, retirement plans, health care plans,
disability plans, severance benefit plans, incentive plans and life, accidental death and
dismemberment insurance plans, shall be terminated as of the Effective Date.

VII.     INJUNCTIONS; EXCULPATIONS

         A.     General Injunctions

         The following provisions shall apply and shall be fully set forth in the Confirmation
Order.
                1.     Injunctions Against Interference
                       with Consummation or Implementation of Plan

       All holders of Claims shall be enjoined from commencing or continuing any judicial
or administrative proceeding or employing any process against the Debtors, the Trustee, the
Estates, the Plan Administrator, the Official Committee (and its members) or the Oversight
Committee (and its members) with the intent or effect of interfering with the consummation
and implementation of this Plan and the transfers, payments and Distributions to be made
hereunder.

                2.     Plan Injunction

       Except as otherwise specifically provided for by this Plan, as of and from the Effective
Date, all Persons shall be enjoined from (i) the enforcement, attachment, collection or
recovery by any manner or means of any judgment, award, decree or order; (ii) the creation,
perfection or enforcement of any encumbrance of any kind; and/or (iii) the assertion of any
right of setoff, counterclaim, exculpation, or subrogation of any kind, in each case against
the Debtors, the Trustee, the Estates, the Plan Administrator, the Official Committee (and
its members) or the Oversight Committee (and its members) to the fullest extent authorized
or provided by the Bankruptcy Code.

                3.     Release of Collateral

        Except as expressly provided otherwise in the Plan, unless a Holder of a Secured
Claim receives a return of its Collateral in respect of such Claim under the Plan, each Holder
of (A) an Allowed Secured Claim; and (B) an Allowed Claim that is purportedly secured, on
the Effective Date shall (x) turn over and release to the Debtors any and all property that
secures or purportedly secures such Claim; and (y) execute such documents and instruments
as the Debtors require to evidence such claimant’s release of such property; and (ii) on the
Effective Date, all claims, rights, title and interest in such property shall revert to the
Debtors, free and clear of all Claims against the Debtors, including (without limitation) liens,

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charges, pledges, encumbrances and/or security interests of any kind. No Distribution
hereunder shall be made to or on behalf of any Holder of such Claim unless and until such
Holder executes and delivers to the Debtors such release of liens. Any such Holder that fails
to execute and deliver such release of liens within 60 days of any demand thereof shall be
deemed to have no further Claim and shall not participate in any Distribution hereunder.
Notwithstanding the immediately preceding sentence, a Holder of a Disputed Claim shall not
be required to execute and deliver such release of liens until the time such Claim is Allowed
or Disallowed.

       B.      Exculpation

        As of the Confirmation Date, the Plan Proponents and their professionals (including
professional firms and individuals within such firms) shall be deemed to have solicited
acceptances of this Plan in good faith and in compliance with the applicable provisions of the
Bankruptcy Code. To the fullest extent permitted by section 1125(e) of the Bankruptcy Code,
the Plan Proponents and their professionals (including professional firms and individuals
within such firms), shall not have or incur any liability to any holder of any Claim or any
other Person for any act or omission taken or not taken in good faith in connection with, or
arising out of, the Chapter 11 Cases, the Disclosure Statement, the Plan, or any contract,
instrument, release or other agreement or document created or entered into in connection
with the Plan, or any act taken or omitted to be taken during the Chapter 11 Cases, the
solicitation of votes for and the pursuit of confirmation of the Plan, the consummation of the
Plan, including, without limitation, the steps taken to effectuate the transactions described
in Article 5 of the Plan, the administration of the Plan or the property to be distributed under
the Plan, except for acts or omissions constituting fraud, willful misconduct or gross
negligence as determined by a Final Order; and in all respects such parties shall be entitled
to rely upon the advice of counsel with respect to their duties and responsibilities under the
Plan.

       C.      All Distributions Received in Full and Final Satisfaction

       Except as otherwise set forth herein, all payments, all Distributions to be made in
accordance with the Plan on account of Claims, and all rights conferred under this Plan shall be
received in full and final satisfaction of the Estates’ obligations for such Claims as against the
Debtors, their property and the Estates.

       D.      No Modification

        The provisions of Article 8 of the Plan are not intended, and shall not be construed, to
modify the res judicata effect of any order entered in the Chapter 11 Cases, including, without
limitation, the Confirmation Order and any order finally determining Professional Fee Claims to
any Professional.




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       E.      Discharge of Claims for Marshall Only.

        Pursuant to section 1141(d) of the Bankruptcy Code, upon completion of Distributions
under the Plan, Marshall will be discharged from any debt that arose before the Confirmation
Date and any debt of a kind specified in sections 502(g), 502(h) or 502(i) of the Bankruptcy Code
whether or not a proof of Claim based on such debt is filed or deemed filed under section 501 of
the Bankruptcy Code, such Claim is Allowed or the Holder of such Claim has accepted the Plan,
except to the extent that Marshall (i) is denied a discharge under section 1141(d)(3) and 727(a) of
the Bankruptcy Code, or (ii) is denied the discharge of any particular Claims under section
1141(d)(2) and 523 of the Bankruptcy Code.

       Pursuant to section 1141(d)(3) of the Bankruptcy Code, the Confirmation Order will not
discharge Marshall Inc. of any debts.

       F.      Extension of Time to Object to Discharge or Dischargeability

       The time for any Person to file an objection to the grant of a discharge to Marshall pursuant
to section 727 of the Bankruptcy Code or for any Creditor to file an objection to the
dischargeability of any debt pursuant to section 523 of the Bankruptcy Code is extended for cause
under Bankruptcy Rules 4004 and 4007 to the date that all Distributions under the Plan are
complete and Marshall is entitled to a discharge under Section 8.6 of the Plan.

VIII. CONDITIONS PRECEDENT

       A.      Conditions Precedent to Confirmation of the Plan

        The following conditions must be satisfied, or otherwise waived in accordance with Section
7.3, on or before the Confirmation Date:

      (a)     The Disclosure Statement Approval Order shall have been entered and shall have
become a Final Order; and

        (b)     Entry of the Confirmation Order, which shall be in form and substance reasonably
satisfactory to the Plan Proponents and the Official Committee, and shall contain provisions that,
among other things:

               (i)     authorize the implementation of the Plan in accordance with its terms;

               (ii)    approve in all respects the other settlements, transactions, and agreements
                       to be effected pursuant to the Plan;

               (iii)   find that the Plan complies with all applicable provisions of the Bankruptcy
                       Code, including that the Plan was proposed in good faith and that the
                       Confirmation Order was not procured by fraud;

               (iv)    approve the Plan Administrator Agreement; and

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               (v)     establish the Administrative Expense Claims Bar Date.

       B.      Conditions Precedent to the Effective Date

       The Effective Date shall not occur and no obligations under the Plan shall come into
existence, unless each of the following conditions is met or, alternatively, is waived in accordance
with Section 7.3 of the Plan, on or before the Effective Date:

       (a)     The closing of the sale of substantially all of the Properties shall have occurred;

       (b)     The Confirmation Order shall have become a Final Order;

       (c)     The Confirmation Order shall have authorized and approved the appointment of the
               Plan Administrator and the Oversight Committee;

       (d)     The Plan Proponents shall have sufficient Cash on hand to pay all Administrative
               Expense Claims and fund the Administrative Reserve;

       (e)     The Wind-Down Budget shall be agreed to by the Plan Proponents, Plan
               Administrator and the Official Committee; and

       (f)     the Trustee shall have disbursed to the Marshall Post-Confirmation Estate Fund or
               the Marshall Inc. Post-Confirmation Estate Fund all Assets of the respective
               Debtors’ Bankruptcy Estates. Even if the Plan Administrator utilizes the same bank
               accounts as the Trustee, all Cash held in the Trustee’s accounts on the Effective
               Date shall be deemed to have been disbursed to the Marshall Post-Confirmation
               Estate Fund or the Marshall Inc. Post-Confirmation Estate Fund as the case may
               be.

       C.      Waiver of Conditions Precedent

       Each of the conditions precedent in Sections 7.1 and 7.2 hereof may be waived or modified
without further Court approval, in whole or in part, but only with the consent of the Plan
Proponents and the Official Committee.

IX.    PROCEDURES FOR DISTRIBUTIONS UNDER PLAN

        Article 9 of the Plan establishes the procedures and guidelines for Distributions to be made
to the terms of the Plan to the holders of Claims, including the timing, procedures and notice
provisions related to same. Distributions shall be made by the Plan Administrator as follows.




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       A.      Distributions by Plan Administrator

        The Plan Administrator shall make Distributions on account of Allowed Claims in
accordance with Article 4 of the Plan. The Plan Administrator may use the services of a third party
to aid in the Distributions required to be made under this Plan, including the Distribution Agent.

       B.      Indefeasibility of Distributions

       All Distributions made under the Plan shall be indefeasible.

       C.      Frequency of Distributions

       The Plan Administrator shall make an initial distribution on the Effective Date or as soon
as practicable thereafter and at such other times as may be determined to be appropriate by the
Plan Administrator in consultation with the Oversight Committee.

       D.      Payments in U.S. Dollars

        All Cash payments required under the Plan shall be made in U.S. dollars by checks drawn
on domestic bank(s) selected by the Plan Administrator in accordance with the Plan or by wire
transfer from a domestic bank.

       E.      Claims In U.S. Dollars

       Any Claims asserted in foreign currencies shall be converted to United States Dollars in
accordance with the prevailing exchange rates published by the Wall Street Journal on the
Confirmation Date.

       F.      Distributions Only on Business Days

       Notwithstanding the foregoing provisions, if any Distribution called for under the Plan is
due on a day other than a Business Day, then such Distribution shall instead be due the next
Business Day.

       G.      Transmittal of Payments and Notices

         Except as otherwise provided in the Plan, all Distributions shall be made to the holder of a
Claim by regular first-class mail, postage prepaid, in an envelope addressed to such holder at the
address listed on its Proof of Claim filed with the Bankruptcy Court or, if no Proof of Claim was
filed, (i) at the address listed on the Debtor’s Schedules, or (ii) at such address that a holder of a
Claim provides to the Plan Administrator after the Effective Date in writing at least fifteen (15)
business days prior to a Distribution Date. The Plan Administrator shall be under no obligation to
ascertain the mailing address of any holder of a Claim other than as set forth herein. The date of
payment or delivery shall be deemed to be the date of mailing. Payments made in accordance with
the provisions of this Section shall be deemed made to the holder regardless of whether such holder
actually receives the payment.

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       H.      Record Date for Distributions

        Except as otherwise provided in a Final Order of the Bankruptcy Court, transferees of
Claims that are transferred pursuant to Bankruptcy Rule 3001 with appropriate filings (“Claim
Transfer Document”) made on or before the Effective Date (the “Distribution Record Date”) shall
be treated as the holders of those Claims for all purposes of this Plan, notwithstanding that any
period provided by Bankruptcy Rule 3001 for objecting to the transfer(s) may not have expired
prior to the Distribution Record Date. The Plan Administrator shall be under no obligation to
recognize any transfer of any Claim occurring after the Distribution Record Date. In making a
Distribution with respect to any Claim, the Plan Administrator shall be entitled to recognize and
deal for all purposes hereunder only with the Person who is listed on the Proof of Claim filed with
respect to such Claim, on the Schedules as the holder thereof, and upon such other evidence or
record of transfer or assignment filed as of the Distribution Record Date.

       I.      Unclaimed Distributions

        Unclaimed Distributions (including Distributions made by checks that fail to be cashed or
otherwise negotiated within ninety (90) days after the Distribution Date or which Distributions are
returned to the Plan Administrator as undeliverable to the addresses of record as of the Distribution
Record Date, shall be canceled (by a stop payment order or otherwise), the Claim(s) relating to
such Distribution(s) shall be deemed forfeited and expunged without any further action or order of
the Bankruptcy Court. Any such Unclaimed Distributions shall, as soon as is practicable, be
redistributed pursuant to the provisions of the Plan.

       J.      No Payments of Fractional Cents or
               Distributions of Less Than One Hundred Dollars

       1.      Notwithstanding any provision to the contrary herein, for purposes of
administrative convenience, no payment of fractional cents shall be made pursuant to the Plan.
Whenever any payment of a fraction of a cent under the Plan would otherwise be required, the
actual Distribution made shall reflect a rounding of such fraction to the nearest whole penny (up
or down), with a half-penny or less being rounded down and fractions in excess of half of a penny
being rounded up.

        2.      Notwithstanding any provision to the contrary herein, for purposes of
administrative convenience, no Distribution of less than One Hundred Dollars ($100) shall be
made pursuant to the Plan. Whenever any Distribution of less than One Hundred Dollars ($100)
under the Plan would otherwise be required, such funds will be retained by the Plan Administrator
for the account of the recipient until such time that successive Distributions aggregate to One
Hundred Dollars ($100), at which time such payment shall be made, and if successive Distributions
do not ever reach One Hundred Dollars ($100) in the aggregate, then such Distributions shall revert
to the Estates and be redistributed in accordance with the Plan.




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       K.      Setoff and Recoupment

        Except as otherwise provided in the Plan, the Plan Administrator may, but shall not be
required to, set off against, or recoup from, any Claim and the Distributions to be made pursuant
to the Plan in respect thereof, any Claims, defenses or Causes of Action of any nature whatsoever
that the Plan Administrator may have, but neither the failure to do so nor the allowance of any
Claim under the Plan shall constitute a waiver or release by the Plan Administrator of any right of
setoff or recoupment against the holder of any Claim.

       L.      Payment of Taxes on Distributions Received Pursuant to the Plan

        1.      The Plan Proponents shall provide the Plan Administrator with all available tax
identification or social security numbers that they may possess for Creditors (collectively the “Tax
Information”) and the Plan Administrator may rely upon the same for purposes of Distributions
and associated tax reporting and compliance. Notwithstanding any provision to the contrary
herein, as a condition to payment of any Distribution to a Creditor under this Plan, each Creditor
shall provide a valid Tax Information if requested by the Plan Administrator for purposes of tax
reporting. All Persons that receive Distributions under the Plan shall be responsible for reporting
and paying, as applicable, any taxes on account of their Distributions.

        2.      At such time as the Plan Administrator believes that Distributions to a particular
Class of Claims is likely, the Plan Administrator shall review the available Tax Information
provided by the Debtors and where necessary, request Tax Information in writing from Creditors
(the “Tax Information Request”). Any Creditor who fails to respond to Tax Information Request
within ninety (90) days from the date posted on the Tax Information Request, shall forfeit all
Distributions such Creditor may otherwise be entitled to under this Plan and such forfeited funds
will revert to the Debtors to be disbursed in accordance with the terms and priorities established
in this Plan.

       M.      Compliance With Tax Withholding and Reporting Requirements

        With respect to all Distributions made under the Plan, the Plan Administrator will comply
with all withholding and reporting requirements of any federal, state, local or foreign taxing
authority.

       N.      Disputed Distribution

       If a dispute arises as to the identity of a holder of an Allowed Claim who is to receive a
Distribution, the Plan Administrator may, in lieu of making such Distribution to such holder, hold
such amount until the dispute is resolved by Final Order of the Bankruptcy Court or by written
agreement among the parties to such dispute.




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X.     RETENTION OF JURISDICTION BY BANKRUPTCY COURT

        From the Confirmation Date until entry of a final decree closing the Chapter 11 Cases, the
Bankruptcy Court shall retain such jurisdiction as is legally permissible over the Chapter 11 Cases
for the following purposes:

        (a) to hear and determine any and all objections to the allowance of any Claim, or any
controversy as to the classification of Claims or any matters which may directly, indirectly or
contingently affect the obligations of the Debtors to any Creditors, holders of Claims, or other
parties in interest;

       (b) to hear and determine any and all applications for compensation and reimbursement of
expenses by Professionals;

       (c) to hear and determine any and all pending motions for the assumption or rejection of
executory contracts and unexpired leases, and to fix any Claims resulting therefrom;

       (d) to adjudicate through final judgment such contested matters and adversary proceedings
as may be pending or subsequently initiated in the Court including, but not limited to, the Causes
of Action;

       (e) to enforce and interpret the provisions of this Plan, the Confirmation Order, and the
Plan Administrator Agreement;

       (f) to hear and determine any matters relating to the appointment and replacement of the
Plan Administrator;

        (g) to issue any injunction or other relief appropriate to implement the intent of the Plan,
and to enter such further orders enforcing any injunctions or other relief issued under the Plan or
pursuant to the Confirmation Order;

      (h) to modify the Plan pursuant to section 1127 of the Bankruptcy Code and the applicable
Bankruptcy Rules;

       (i) to correct any defect, cure any omission, or reconcile any inconsistency in this Plan, the
Confirmation Order, or the Plan Administrator Agreement, as may be necessary to carry out the
purposes and the intent of this Plan;

         (j) to interpret and determine such other matters as the Confirmation Order may provide
for, or as may be authorized under the Bankruptcy Code;

       (k) to enter and implement such orders as may be appropriate in the event the Confirmation
Order is, for any reason, stayed, reversed, revoked, modified or vacated; and

       (l) to adjudicate any disputes between the members of the Oversight Committee or between
the Oversight Committee and the Plan Administrator.

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XI.    CERTAIN TAX CONSEQUENCES OF THE PLAN

       A.      General

     THE DESCRIPTION OF CERTAIN FEDERAL INCOME TAX CONSEQUENCES
OF THE PLAN PROVIDED BELOW IS LIMITED TO THE SPECIFIC FEDERAL
INCOME TAX MATTERS DESCRIBED HEREIN.         IT IS POSSIBLE THAT
ADDITIONAL ISSUES MAY EXIST THAT COULD AFFECT THE FEDERAL INCOME
TAX CONSEQUENCES OF THE PLAN OR OTHER FEDERAL INCOME TAX
MATTERS DISCUSSED HEREIN AND THIS DISCUSSION DOES NOT CONSIDER OR
PROVIDE ANY CONCLUSIONS WITH RESPECT TO ANY SUCH ADDITIONAL
ISSUES. EACH TAXPAYER IS STRONGLY URGED TO SEEK ADVICE BASED ON
THE TAXPAYER’S PARTICULAR CIRCUMSTANCES FROM SUCH TAXPAYER’S
INDEPENDENT TAX ADVISOR.

     THE DESCRIPTION OF CERTAIN FEDERAL INCOME TAX CONSEQUENCES
OF THE PLAN PROVIDED BELOW IS SOLELY FOR THE PURPOSE OF
COMPLIANCE WITH SECTION 1125(a) OF THE BANKRUPTCY CODE. THE
DESCRIPTION IS BASED ON THE INTERNAL REVENUE CODE OF 1986, AS
AMENDED (THE “INTERNAL REVENUE CODE”) TREASURY REGULATIONS,
JUDICIAL DECISIONS AND ADMINISTRATIVE DETERMINATIONS, ALL AS IN
EFFECT ON THE DATE OF THIS DISCLOSURE STATEMENT. CHANGES IN ANY OF
THESE AUTHORITIES OR IN THEIR INTERPRETATION MAY HAVE
RETROACTIVE EFFECT, WHICH MAY CAUSE THE FEDERAL INCOME TAX
CONSEQUENCES OF THE PLAN TO DIFFER MATERIALLY FROM THE
CONSEQUENCES DESCRIBED BELOW. NO RULING HAS BEEN REQUESTED
FROM THE INTERNAL REVENUE SERVICE (THE “IRS”) AND NO LEGAL OPINION
HAS BEEN REQUESTED FROM COUNSEL CONCERNING ANY TAX
CONSEQUENCE OF THE PLAN, AND NO TAX OPINION OR ADVICE IS GIVEN BY
THIS DISCLOSURE STATEMENT.

       This description does not cover all aspects of federal income taxation that may be relevant
to the Debtors or Holders of Claims. For example, the description does not address issues of
special concern to certain types of taxpayers, such as dealers in securities, life insurance
companies, financial institutions, tax exempt organizations and foreign taxpayers, nor is it intended
to address all of the possible federal income tax consequences to Holders of Claims against the
Debtors. This description also does not discuss the possible state tax or non-U.S. tax consequences
that might apply to the Debtors or to Holders of Claims.

       B.      Tax Consequences of Payment of Allowed Claims
               Pursuant to Plan Generally

       The federal income tax consequences of the implementation of the Plan to the Holders of
Allowed Claims will depend, among other things, on the consideration to be received by the
Holder, whether the Holder reports income on the accrual or cash method, whether the Holder’s
Claim is Allowed or Disputed on the Effective Date, and whether the Holder has taken a bad debt
deduction or a worthless security deduction with respect to its Claim. All Holders of Claims are
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urged to consult with their tax advisors concerning the tax consequences applicable under the Plan.
Nothing contained herein shall be relied upon as tax advice.

               1.      Recognition of Gain or Loss

        In general, a Holder of an Allowed Claim should recognize gain or loss equal to the amount
realized under the Plan in respect of its Claim less the Holder’s tax basis in the Claim. Any gain
or loss recognized in the exchange may be long-term or short-term capital gain or loss or ordinary
income or loss, depending upon the nature of the Allowed Claim and the Holder, the length of time
the Holder held the Claim and whether the Claim was acquired at a market discount or premium.
If the Holder realizes a capital loss, the Holder’s deduction of the loss may be subject to limitation.
The Holder’s tax basis for any property received under the Plan generally will equal the amount
realized.

               2.      Bad Debt or Worthless Security Deduction

        A Holder who receives in respect of an Allowed Claim an amount less than the Holder’s
tax basis in the Claim may be entitled in the year of receipt (or in an earlier or later year) to a bad
debt deduction in some amount under section 166 of the Internal Revenue Code. The rules
governing the availability, character, timing and amount of bad debt deductions place considerable
emphasis on the facts and circumstances of the Holder, the obligor and the instrument with respect
to which a deduction is claimed. Holders of Allowed Claims, therefore, are urged to consult their
tax advisors with respect to their ability to take such a deduction.

               3.      Receipt of Interest

        The Plan does not address the allocation of the aggregate consideration to be distributed to
Holders between principal and interest and the Plan Proponents cannot make any representations
as to how the IRS will address the allocation of consideration under the Plan. In general, to the
extent that any amount of consideration received by a Holder is treated as received in satisfaction
of unpaid interest that accrued during such Holder’s holding period, such amount will be taxable
to the Holder as interest income (if not previously included in the Holder’s gross income and not
otherwise exempt from U.S. federal income tax). Conversely, a Holder may be allowed a bad debt
deduction to the extent any accrued interest was previously included in its gross income but
subsequently not paid in full. However, the IRS may take the position that any such loss must be
characterized based on the character of the underlying obligation, such that the loss will be a capital
loss if the underlying obligation is a capital asset. Again, Holders of Allowed Claims should
address all potential tax implications with their own tax advisors.

XII.   CONFIRMATION OF PLAN – REQUIREMENTS

        In order for the Plan to be confirmed, the Bankruptcy Code requires, among other things,
that the Plan be proposed in good faith, that the Plan Proponents disclose specified information
concerning payments made or promised to insiders, and that the Plan comply with the applicable
provisions of chapter 11 of the Bankruptcy Code. Section 1129(a) of the Bankruptcy Code also
requires that at least one Class of Claims has accepted the Plan (“Minimum Voting Threshold”),

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that Confirmation of the Plan is not likely to be followed by the need for further financial
reorganization, and that the Plan be fair and equitable with respect to each Class of Claims that is
impaired under the Plan. The Bankruptcy Court can confirm the Plan if it finds that all of the
requirements of section 1129(a) have been met. The Plan Proponents believe that the Plan meets
all of these required elements. With respect to the so-called “feasibility” test (i.e., that the Plan is
not likely to be followed by the need for further financial reorganization), the Plan provides for an
orderly liquidation of the Debtors’ assets and the Plan Proponents believe that they will be able to
consummate the Plan fully.

        In the event that a Class of Claims votes to reject the Plan, the Plan does not satisfy all of
the requirements of section 1129(a) of the Bankruptcy Code. Although the Minimum Voting
Threshold is not met, the Bankruptcy Court nevertheless may confirm the Plan under the “cram
down” provisions of section 1129(b) of the Bankruptcy Code if all of the other provisions of
section 1129(a) of the Bankruptcy Code are met. Thus, the Plan Proponents presently intend, to
the extent necessary, (i) to undertake to have the Bankruptcy Court confirm the Plan under the
“cram down” provisions of section 1129(b) of the Bankruptcy Code, and (ii) to amend the Plan to
the extent necessary to obtain entry of the Confirmation Order.

        In order to confirm a Plan over the dissenting vote of an impaired Class under section
1129(b) of the Bankruptcy Code that satisfies the remaining provisions of section 1129(a) of the
Bankruptcy Code, the Bankruptcy Court, on request of the proponent of a plan, “shall” confirm
the Plan if the Plan does not discriminate unfairly, and is fair and equitable with respect to each
Class of Claims that is impaired under, and has not accepted, the Plan. For purposes of section
1129(b) of the Bankruptcy Code, a Plan is “fair and equitable” with respect to a class of unsecured
Creditors if, at a minimum, it satisfies the “absolute “priority rule” and the “best interests of
creditors test.”

       A.      Absolute Priority Rule

        To satisfy the absolute priority rule, the Plan must provide that the holder of any Claim that
is junior to the Claims of the dissenting Class will not receive or retain under the Plan on account
of such junior Claim any property unless the Claims of the dissenting Class are paid in full.

        The Plan Proponents believe that the Plan satisfies the absolute priority rule. The Plan
Proponents further believe that all non-accepting impaired Classes will receive or retain payment
or Distribution, as the case may be, on account of their Claims, sufficient to permit full satisfaction
of such Claims before junior Classes receive or retain any property on account of such junior
Claims.

       B.      Best Interest of Creditors Test; Liquidation Analysis

        Under the best interest of creditors test, the Plan is confirmable if, with respect to each
impaired Class of Claims, each holder of an Allowed Claim in such Class has either (i) accepted
the Plan, or (ii) receives or retains under the Plan, on account of its Claim, property of a value, as
of the Effective Date, that is not less than the amount such holder would receive or retain if the
Debtors were to be liquidated under chapter 7 of the Bankruptcy Code.

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         To determine what the holders of each Class of Claims would receive if the Debtors were
to be liquidated under chapter 7 of the Bankruptcy Code, the Bankruptcy Court must determine
the dollar amount that would be generated from the liquidation of the Debtors’ remaining assets in
a chapter 7 liquidation case. The amount that would be available for satisfaction of the Allowed
Claims of the Debtors would consist of the proceeds resulting from the disposition of the remaining
assets of the Debtors augmented by the cash held by the Debtors at the time of the conversion of
the Chapter 11 case to a chapter 7 case. Such amounts would be reduced by the costs and expenses
of the liquidation and by such additional Administrative Expense Claims and other priority Claims
that might result from the chapter 7 case.

        Here, the Plan contemplates the creation of a Plan Administrator to continue the wind-
down of the Debtors’ Estates. The Plan Proponents believe that a conversion of the Chapter 11
Cases to cases under chapter 7 would disrupt an orderly plan process which is expected to result
in a prompt initial distribution to Holders of Allowed Class 4 Marshall General Unsecured Claims,
and that Creditors would be harmed by the delay and expense that would result.

        To determine if the Plan, as proposed, is in the best interests of Creditors, the present value
of the distributions likely to be made to each class in a liquidation if the bankruptcy case proceeded
under Chapter 7 are compared with the present value of the distributions to each impaired Class
provided for by the Plan.

        In applying the best interest test, it is possible that Claims in a chapter 7 case may not be
classified in the same manner as provided for by the Plan. Priorities and order of distribution of
estate assets are established by the applicable provisions of chapter 7. Under those provisions,
each class of Claims is paid in a descending order of priority. No junior classes of Claims are paid
until all senior classes have received payment in full. In the event that available assets are
insufficient to pay all members of such class in full, then each member of the class shares on a pro
rata basis.

        The Plan Proponents believe that the primary advantages of the Plan over a chapter 7
liquidation is that Creditors will likely receive more under the Plan than they would in a chapter 7
case and receive their Distributions earlier. Costs would increase by the amount of the additional
administrative expenses likely to be incurred in such a chapter 7 case, including the costs of time-
consuming investigations and discovery. Under the Plan, the process of other Claims resolution
will proceed without the necessity for additional investigation by a chapter 7 trustee and its
separate and new professionals. The Plan offers the opportunity to avoid additional administrative
costs and the resulting delay which would result from a chapter 7 liquidation.

        The Plan Proponents therefore believe that the Plan will result in lower total administrative
costs, and higher recoveries for Creditors than would the liquidation of the Debtors’ Assets under
chapter 7 of the Bankruptcy Code. A liquidation analysis that demonstrates the lower recovery for
creditors in a chapter 7 liquidation is annexed hereto as Exhibit A.

        Thus, the Plan Proponents believe the Plan satisfies the “best interests of creditors test,”
and, indeed, that the Plan is in the best interests of Creditors.



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XIII. PLAN RELATED RISK FACTORS AND ALTERNATIVES TO CONFIRMATION
      AND CONSUMMATION OF THE PLAN

       A.      Certain Bankruptcy-Related Considerations

               1.      Parties in Interest May Object to the
                       Plan Proponents’ Classification of Claims

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim in a particular
class only if such claim is substantially similar to the other claims in such class. The Plan
Proponents believe that the classification of Claims under the Plan complies with the requirements
set forth in the Bankruptcy Code. However, there can be no assurance that the Bankruptcy Court
will reach the same conclusion.

               2.      Risk of Plan Not Being Confirmed

        Although the Plan Proponents believe the Plan will satisfy all requirements necessary for
confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
reach the same conclusion. There can also be no assurance that modifications of the Plan will not
be required for Confirmation, that any negotiations regarding such modifications would not
adversely affect the holders of the Allowed Claims or that any such modifications would not
necessitate the re-solicitation of votes.

               3.      Nonconsensual Confirmation

        As set forth above, in the event any impaired class of claims does not accept a plan, a
bankruptcy court may nevertheless confirm such plan of liquidation at the proponent’s request if
at least one impaired class has accepted the plan of liquidation (with such acceptance being
determined without including the acceptance of any “insider” in such class) and, as to each
impaired class which has not accepted the plan of liquidation, the bankruptcy court determines that
the plan of liquidation “does not discriminate unfairly” and is “fair and equitable” with respect to
non-accepting impaired classes.

              In the event that any Impaired Class of Claims fails to accept the Plan in accordance
with section 1129(a)(8) of the Bankruptcy Code, the Plan Proponents reserve the right to seek
nonconsensual confirmation of the Plan in accordance with section 1129(b) of the Bankruptcy
Code.

               4.      Risks that Conditions to Effectiveness Will Not Be Satisfied

       Article 7 of the Plan contains certain conditions precedent to the effectiveness of the Plan.
There can be no assurances that the conditions contained in Article 7 of the Plan will be satisfied.




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              5.     Actual Plan Distributions May Be Less Than Estimated for Purposes of the
Disclosure Statement

        The Plan Proponents project that the Claims asserted against the Debtors will be resolved
in and reduced to an amount that approximates the estimates set forth herein. However, there can
be no assurances that these estimates will prove accurate. In the event that the allowed amounts
of such Claims are materially higher than the projected estimates, actual distributions to Holders
of Allowed Claims could be materially less than estimated herein.

               6.     Claims Objections/Reconciliation Process

        The Plan Proponents and the Plan Administrator, as applicable, reserve the right to object
to the amount of any Claim, except as provided in the Plan. The estimates set forth herein cannot
be relied on by any Holder of a Claim whose Claim is subject to an objection. Any such Holder
of a Claim may not receive its specified share of the estimated distributions described in the
Disclosure Statement.

       B.      Alternatives to the Plan and Consequences of Rejection

         Among the possible consequences if the Plan is rejected or if the Bankruptcy Court refuses
to confirm the Plan are the following: (i) an alternative plan could be proposed or confirmed; or
(ii) the Chapter 11 Cases could be converted to liquidation cases under chapter 7 of the Bankruptcy
Code.

               1.     Alternative Plans

       With respect to an alternative plan, the Plan Proponents have explored various alternative
scenarios and believe that the Plan enables the Holders of Claims to realize the maximum recovery
under the circumstances. The Plan Proponents believe the Plan is the best plan that can be
proposed and serves the best interests of the Debtors and other parties-in-interest.

               2.     Chapter 7 Liquidation

        As discussed above, with respect to each Class of Impaired Claims, either each Holder of
a Claim of such Class has accepted the Plan, or will receive under the Plan on account of such
Claim, property of a value, as of the Effective Date of the Plan, that is not less than the amount
that such Holder would receive or retain if the Debtors were liquidated on such date under chapter
7 of the Bankruptcy Code. The Plan Proponents believe that significant costs would be incurred
by the Debtors as a result of the delay that would be caused by conversion of the Chapter 11 Cases
to cases under chapter 7 and the Insider Settlement Contribution would not be available, resulting
in a reduced distribution to all Creditors.

XIV. PROCEDURES FOR VOTING ON PLAN

        As noted above, pursuant to the Bankruptcy Code, a plan groups various claims into
classes, each consisting of parties having similar legal rights in relation to a debtor. Each class

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may then be treated as either “impaired” or “unimpaired” under a plan. There are three ways in
which a plan may leave a claim or interest “unimpaired.” First, a plan may not propose to alter the
legal, equitable or contractual rights of the holder of the claim or interest. Second, all defaults
(excluding those covered by section 365(b)(2) of the Bankruptcy Code) may be cured and the
original terms of the obligation reinstated. Third, a plan may provide for the payment in full of
the obligation to the holder of the claim or interest. If a class is unimpaired, then it is conclusively
presumed to vote in favor of a plan.

          An impaired class that would receive nothing under a plan is deemed to have rejected such
a plan.

        An impaired class that is proposed to receive any Distribution (whether in Cash, securities
or other property) has the right to vote, as a class, to accept or reject the plan. A class of Creditors
accepts a plan if more than one-half (1/2) of the ballots that are timely received from members of
such class, representing at least two thirds (2/3) of the dollar amount of Claims for which ballots
are timely received, vote in favor of such plan. Section 1126(e) of the Bankruptcy Code provides
that a Creditor’s vote may be disregarded if the Bankruptcy Court determines, after notice and a
hearing, that the Creditor’s vote either to accept or reject a plan was not solicited or cast in good
faith, or in compliance with the Bankruptcy Code. A plan under which any class of Claims is
impaired may be confirmed by the Bankruptcy Court only if it has been accepted by at least one
such class.

        Each holder of an Allowed Claim in an impaired Class which retains or receives property
under the Plan shall be entitled to vote separately to accept or reject the Plan and shall indicate
such vote on a duly executed and delivered Ballot as provided in such order as is entered by the
Bankruptcy Court establishing certain procedures with respect to the solicitation and tabulation of
votes to accept or reject the Plan, or any other order or orders of the Bankruptcy Court.

        Holders of Claims in an impaired Class entitled to vote will receive, together with this
Disclosure Statement, a Ballot to be used in voting to accept or reject the Plan. Voting instructions
will accompany the Ballot.

       Each Creditor should first carefully review this Disclosure Statement and the Plan. The
Creditor should then complete the portions of the Ballot indicating the Class in which the
Creditor’s Claim falls and the total dollar amount of the Claim. It is critical that the Class and
amounts(s) of the Claim be correctly stated on the Ballot, so that the Creditor’s vote can be properly
counted.

        Next, the Creditor should mark in the space provided on the Ballot whether the Creditor
wishes to accept or to reject the Plan. Please be sure to fill in the name of the Creditor for whom
the Ballot is being filed. Finally, the Ballot must be signed by the Creditor, or by an officer,
partner, or other authorized agent of the Creditor. Please note that the Plan Proponents reserve the
right to object to the allowance, designation of Class and/or allowable amount of any Claim set
forth in a Ballot for purposes of voting and/or Distribution under the Plan.




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        Completed and signed Ballots should be returned to the Voting Agent at the following
locations:

       If by first class mail, in the return envelope provided with each, or by hand delivery or
       overnight mail:

               M. Burton Marshall Ballot Processing
               c/o Stretto
               410 Exchange, Suite 100
               Irvine, CA 92602

       If by electronic submission solely through the online balloting portal to the following
website:

               https://cases.stretto.com/BurtMarshallChapter11

Completed Ballots should be returned as soon as possible, and in any event so that they are
RECEIVED NO LATER THAN [______], 2024 AT 5:00 P.M. (EST) ANY BALLOTS WHICH
ARE RECEIVED BY THE VOTING AGENT AFTER [_______], 2024 AT 5:00 P.M. (EST)
SHALL NOT BE COUNTED IN DETERMINING ACCEPTANCE OR REJECTION OF THE
PLAN.

XV.    CONFIRMATION HEARING

        The Confirmation Hearing will be held telephonically before the Honorable Patrick G.
Radel, United States Bankruptcy Judge for the Northern District of New York, in the Alexander
Pirnie U.S. Courthouse and Federal Building, 10 Broad Street, Room 236, Utica, NY 13501
on [______], 2024 at [____] (EST), as such date may be continued or adjourned by the Court.
Any party wishing to appear at the hearing may do so in-person at the courthouse or by telephone
using the Court’s AT&T teleconference system by dialing (877) 411-9748 and entering access
code 3229032#. At that hearing, the Bankruptcy Court will decide whether the Plan should be
confirmed, and will hear and decide any and all objections to the Plan. Any Creditor, or other
party in interest who wishes to object to Confirmation of the Plan, or to the classification of Claims
or Interests provided in the Plan, must, not later than 5:00 p.m. (EST) on [______], 2024, file an
objection with the Clerk of the United States Bankruptcy Court, Northern District of New York,
Alexander Pirnie U.S. Courthouse and Federal Building, 10 Broad Street, Room 236, Utica,
NY 13501, and serve a copy of the objection on the following persons: (a) counsel to the Plan
Proponents: Klestadt Winters Jureller Southard & Stevens, LLP, 200 West 41st Street, 17th Floor,
New York, New York 10036, Attn: Fred Stevens and Lauren C. Kiss, (b) the Office of the United
States Trustee for the Northern District of New York, Alexander Pirnie U.S. Courthouse and
Federal Building, 10 Broad Street, Room 105, Utica, New York 13501, Attn: Erin Champion, (c)
counsel to the Official Committee: Bond, Schoeneck & King PLLC, One Lincoln Center,
Syracuse, New York 13202, Attn: Stephen A. Donato and Sara C. Temes, and (d) parties filing a
notice of appearance and request for service herein.



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        Any objections to the Plan which are not filed and served by the above date may not be
considered by the Bankruptcy Court. Any person or entity who files an objection to Confirmation
of the Plan or to the classification of Claims provided in the Plan must also attend the Confirmation
Hearing, either in person or through counsel.

       If the Plan is confirmed, its provisions will bind the Estates and any and all Persons,
including all holders of Claims, whether or not the Claim of such Holder is impaired under the
Plan and whether or not the Holder has, either individually or by a Class, voted to accept the Plan.

XVI. RECOMMENDATION

       The Plan Proponents believe that the Plan provides for the fair and equitable treatment of
the Debtors’ Creditors and therefore recommends that Creditors vote to accept the Plan.



                                     [Signature Page Follows]




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Dated: February 20, 2024

                                             M. BURTON MARSHALL,
                                             a/k/a BURT MARSHALL,
                                             a/k/a MILES BURTON MARSHALL,

                                             By: /s/ Fred Stevens
                                                Fred Stevens, as Chapter 11 Trustee of
                                             the estate of M. Burton Marshall a/k/a Burt
                                             Marshall a/k/a Miles Burton Marshall



                                             MILES B. MARSHALL, INC.

                                             By: /s/ Fred Stevens
                                               Fred Stevens, as Authorized Person as
                                             Chapter 11 Trustee of the estate of M.
                                             Burton Marshall a/k/a Burt Marshall a/k/a
                                             Miles Burton Marshall


 Approved as to form:

 By: /s/ Lauren C. Kiss
     Fred Stevens
     Lauren C. Kiss
     200 West 41st Street, 17th Floor
     New York, New York 10036
     Tel: (212) 972-3000
     Fax: (212) 972-2245
     Email: fstevens@klestadt.com
             lkiss@klestadt.com

 General Counsel to the Chapter 11 Trustee

 and

 Debtor Miles B. Marshall Inc.




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                                  Exhibit A

                             Liquidation Analysis




                                  Exhibit A-1
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    M. Burton Marshall
    Estimated Plan Distribution Analysis
    Estimated as of January 31, 2024                                                          Est. Plan Distribution Analysis                                               Liquidation Analysis
                                                                        Balance Sheet     Low Estimated        High Estimated                       January 24       Low Estimated        High Estimated
                                                                                                                                    Note
                                                                           1/31/24           Value                 Value                               BS               Value                 Value
    Cash                                                                $    347,000      $         347,000    $       400,000        A                  346,528    $        347,000      $      400,000
    Accounts receivable                                                 $     26,000                  6,500             10,000        B                   25,862               6,500              10,000
    Mortgage receivables                                                $    303,000                227,250            250,000        B                  302,871             227,250             250,000
    FF&E                                                                $     21,000                  5,250             10,000        B                   20,500               5,250              10,000
    Deposits - Tenants                                                  $    256,000                    -                  -          C                  256,363                 -                   -
    Real estate excluding the Debtor exemption                          $ 17,652,000             16,500,000         21,000,000        D               17,652,173          14,850,000          18,900,000
    Personal property                                                   $     91,000                    -                  -          E                   90,788                 -                   -
    Equity in Miles B. Marshall, Inc.                                   $ 1,338,000               1,263,000          1,263,000        F                1,338,000           1,234,000           1,234,000
    Other Inclusive of potential causes of action                       $        -                      -                  -          G                      -                   -                   -
    Estimated Proceeds from Liquidation of Assets                       $ 20,034,000             18,349,000         22,933,000                        20,033,085          16,670,000          20,804,000
    Administrative Claims
      Wind-Down Budget / Ch 7 Professionals                                                         500,000            750,000        H                                      500,000             750,000
      US Trustee Fees / Ch 7 Trustee                                                                147,000            183,000        I                                      500,000             624,000
      Accounts payable - operating expenses                             $      39,000                39,000            150,000                            39,153              39,153             150,000
      Transaction costs and transfer taxes                                                          973,000          1,248,250        D                                    1,190,388           1,524,925
      Professional Fees - Marshall Bankruptcy Case                      $   4,430,000             5,180,000          5,930,000                         4,430,000           5,180,000           5,930,000
      Income tax expense (2024 estimate)                                                          1,914,000          3,178,000                                             1,014,000           2,040,000
    Net Proceeds Available after Administrative Claims                                            9,596,000         11,493,750                        15,563,932           8,246,460           9,785,075
    Secured Claims (Class 1)
       Real estate taxes                                                $     224,000               224,000             224,000                          223,553             224,000             224,000
       Mortgages                                                        $   2,089,000             2,089,000           2,089,000       D                2,088,636           2,089,000           2,089,000
    Net Proceeds Available to Priority Creditors                                                  7,283,000           9,180,750                       13,475,296           5,933,460           7,472,075

    Priority Claims
       Tax claims                                                       $          -                    -                   -                                 -                  -                   -
       Wage and employee claims (Class 2)                               $          -                 30,000              30,000                                               30,000              30,000
    Net Proceeds Available to Unsecured Creditors                                         $       7,253,000    $      9,150,750                                     $      5,903,460      $    7,442,075

    Unsecured Claims (as of the Filing Date)
      General Unsecured Claims (Class 4)                                $ 90,500,000      $       7,253,000    $      9,150,750        J          $ 90,500,231      $      5,903,460      $    7,442,075

                                                                        $ 90,500,000      $       7,253,000    $      9,150,750                       90,500,231    $      5,903,460      $    7,442,075
    Percentage Return to Unsecured Creditors                                                    8.01%              10.11%                                                 6.52%               8.22%


A. Cash and Cash Equivalents - As of the most recently filed monthly operating report, January 31, 2024.
B. Represents the estimated recovery net of cost to collect or sell the asset.
C. The Tenant deposits relate to real estate and storage lease holders and will transfer to the purchaser of the asset.
D. The Trustee has engaged a real estate broker to build and market a sale process for over 100 properties owned by Marshall. The amounts reflect the potential aggregate sale
   price, the related transaction costs based on the sales price and the remaining mortgage amount due. The Chapter 7 Liquidation analysis includes additional transfer taxes
   related to the sale of the real estate. The Plan Proponents factored in a 10% discount for the Liquidation Value on account of the limitations and lack of flexibility inherent in a
   chapter 7 process vs. a chapter 11 process.
E. Marshall filed with the Court his schedule of assets and liabilities which reflected certain assets as personal and potentially exempt. At this point in time, these assets are
   reflected on Marshall's balance sheet but we do not include a recovery value for creditors on these assets.
F. Marshall is the sole owner of Miles B Marshall, Inc (Marshall Inc). The value presented reflects the Marshall Inc net asset value to be distributed to Class 5 pursuant to the
   Plan.
G. This estimated distribution presumes (i) no recovery is made on Marshall’s life insurance policies with combined death benefits of $18 million; and (ii) nothing is realized on
   the Bank Litigation Claims. If, Marshall dies prior to expiration of one or more of his life insurance policies and/or the Bank Litigation Claims are determined to be viable and
   result in a recovery, this estimated distribution could be enhanced significantly.
H   Currently, the Wind-Down Budget is an estimate as the Plan Proponents, Plan Administrator and the Official Committee have not agreed to the services at this time.

I   US Trustee Fees equal 0.8% of the aggregate disbursements of the Marshall Bankruptcy Estate assuming the disbursements occur in the same quarter. In a Ch. 7, US Trustee
    Fees are not paid but the Ch. 7 Trustee will receive compensation pursuant to Section 326 of the Bankruptcy Code.
J   For purposes of this analysis the general unsecured claim amount reflects the amount noted by the Debtor on his statement of financial affairs filed with the Court (Doc #3).




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    Miles B. Marshall, Inc. (Marshall Inc.)
    Estimated Plan Distribution Analysis
    Estimated as of January 31, 2024                                                     Est. Plan Distribution Analysis                          Liquidation Analysis
                                                                                     Low Estimated        High Estimated                    Low Estimated      High Estimated
                                                                                                                              Note
                                                                                        Value                 Value                            Value               Value
    Cash                                                                             $        1,343,000   $     1,343,000                  $      1,343,000    $    1,343,000
    Accounts receivable                                                                           6,000             6,000                             6,000             6,000
    Other Assets (Including Intellectual Property)                                                  -                 -                                 -                 -
    Other - Potential Causes of Action                                                              -                 -                                 -                 -
    Estimated Proceeds from Liquidation of Assets                                             1,349,000         1,349,000       A                 1,349,000         1,349,000
                                                                                                    -                 -                                 -                 -
    Administrative Claims
      US Trustee Fees / Ch 7 Trustee                                                             11,000            11,000       B                    40,000            40,000
      Operating expenses                                                                          5,000             5,000                             5,000             5,000
      Professional Fees - Marshall Inc.                                                          60,000            60,000                            60,000            60,000
    Net Proceeds Available after Administrative Claims                                        1,273,000         1,273,000                         1,244,000         1,244,000
    Claims
       Marshall, Inc. Claims (Class 3)                                               $          10,000    $        10,000                  $         10,000    $         10,000
                                                                                    $           10,000    $        10,000                  $         10,000    $         10,000
    Percentage Return to Unsecured Creditors                                                100%               100%                             100%               100%
    Net Proceeds Available to Equity                                                 $       1,263,000    $     1,263,000                  $     1,234,000     $    1,234,000


A. Asset value were obtained from the January 31, 2024 monthly operating report.
B. US Trustee Fees equal 0.8% of the aggregate disbursements of the Marshall Inc. Bankruptcy Estate assuming the disbursements occur in the same quarter. In
   a Ch. 7, US Trustee Fees are not paid but the Ch. 7 Trustee will receive compensation pursuant to Section 326 of the Bankruptcy Code.




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                                     Exhibit B

            Schedule of Proposed Allowance Amounts of Class 4 Claims

                        [to be provided prior to solicitation]




                                    Exhibit B-1
